 Case 08-14631-GMB                   Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                        Desc
                                   Finance Agreement - Part 2 Page 1 of 46


such Indemnified Party as finally determined by a court of competent jurisdiction. The Companies hereby agree that
this indemnity shall survive termnation of this Financing Agreement, as well as payments of Obligations which may
be due hereunder, The Agent may, in its reasonable business judgment, establish such Availability Reserves with
respect thereto as it may deem advisable under the circumstances and, upon any termination hereof hold such
reserves as cash reserves for any such contingent liabilities.

         7.13 Without the prior written consent of the Agent, the Companies agree that they wil not enter into
any transaction (except transactions among the Companies), including, without limitation, any purchase, sale, lease,
loan or exchange of propert with any subsidiary or affiiate of the Companies, provided that, except as otherwise
set forth in this Financing Agreement, the Companies or anyone of them may enter into sale and service
transactions among the Companies, or with any subsidiary or affiiate of any of the Companies in the ordinary
course of their business and pursuant to the reasonable requirements of the Companies, and upon standard terms and
conditions and fair and reasonable terms, no less favorable to the Companies than the Companies could obtain in a
comparable arms length transaction with an unrelated third party, provided further that no Default or Event of
Default exists or will occur hereunder prior to and after giving effect to any such transaction,

           7.14 Reserved,

         7.15 The Companies covenant and agree to provide the Agent, promptly upon Agent's demand, a
statement, in writing, of the then current status of the Companies' union negotiations or union contracts in such form
and in such detail as the Agent shall require.

           7.16 Payments of Fees and Claims, The Companies shall make timely paýment of all fees payable to
the United States Trustee, if any, in the Bankptcy Case pursuant to 28 U.S.c. Sect 1930 (a)(6). In addition,
without prior approval of the Bankptcy Court and the prior written consent of Agent, the Companies shall not
make any payment of any proceeds constituting part of the Collateral or other cash (including, without limitation,
proceeds of Revolving Loans) to any creditor of any Company on account of claims arising prior to the
commencement of the Bankrptcy Case (including without limitation payments in respect of reclamation claims of
unpaid suppliers of goods delivered to the Companies prior to the commencement of the Bankptcy Case
(regardless of whether such claims have been granted administrative expense priority status pursuant to Section
546( c) of the Bankptcy Code)) prior to confirmation of a plan of reorganization.

           7.17 Intentionally       omitted.

           7.18 Chapter 11 Claims, No Company shall incur, create, assume, suffer to exist or permit any
administrative expense or claim (whether now existing or hereafter arising, of any kind or nature whatsoever) which
is superior to or pari passu with the liens granted to the Agent, on behalf of the Lenders, by this Agreement and the
other Loan Documents or the Financing Order, other than the pari passu claims of Arcus.

           7.19 Notices. The Companies shall, in writing:

                        (a) promptly after becoming aware thereof, notify the Agent of any application or motion of
any person seeking relief from the automatic stay under Section 362 of the Bankptcy Code or any other
application motion or pleading fied in the Bankptcy Case that, either immediately or with the passage of time,
might result in an Event of     Default hereunder; and

                        (b) promptly notify the Agent of the filing of (and provide Lenders with copies of) all
operating and other reports and/or financial information provided by the Companies to the Bankrptcy Court, the
United States Trustee, the Chapter 11 Trustee, and any other statutorily appointed or ad hoc committee in the
Bankptcy Case, and copies of all pleadings, motions, applications, judicial information, financial information, and
other documents filed by or on behalf of any and/or all of the Companies with the Bankptcy Court in the
Bankptcy Case, or distributed by or on behalf of any and/or all of the Companies to any official committee
appointed in the Bankrptcy Case,

            7.20 The Companies represent, warrant and covenant, that:


                                                           -38-
                                                                                                          B # 761460 v.S
  Case 08-14631-GMB                       Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                       Desc
                                        Finance Agreement - Part 2 Page 2 of 46



                        (a) Subject to the entry by the Bankptcy Court of the Interim Financing Order or
                                                                                                                    Final
Order, as applicable, and subject to the Intercreditor Agreement, (i) the Obligations wil constitute a Superpriority
Claim, subject, as to priority, only to the Carve-Out, the claims of Arcus and Permitted Encumbrances securing
Senior Claims, and (ii) the liens of Agent, for the benefit of Agent and Lenders, securing the Obligations are valid
and perfected first priority liens subject, as to priority only, to the Carve-Out and Permitted Encumbrances securing
Senior Claims;

                        (b) The Companies are not transferring the Collateral nor incurring any obligation with any
intent to hinder, delay or defraud any of its respective present or future creditors;

                                                                                                    the Final Order)
                        (c) The Interim Financing Order (with respect to the period prior to entry of
                                                              the Final Order), as the case may be, has been entered
or Final Order (with respect to the period on and after entry of

by the Bankptcy Court and is in full force and effect, and has not been amended, modified or stayed, or reversed;
and

                  (d) Notwithstanding the provisions of    Section 362 of the Bankptcy Code, and subject to the
applicable provisions of the Order, upon the maturity (whether by acceleration or otherwise) of any of the
Obligations, the Agent and Lenders shall be entitled to immediate payment of such Obligations and to enforce the
remedies provided for hereunder or under applicable law, without further application to or order by the Bankrptcy
Court.

         7.21 The Companies wil not, directly or indirectly, seek, consent to, suffer to exist or permit (i) any
modification, stay, vacation or amendment to either Order, unless the Agent has consented to such modification,
stay, vacation or amendment in writing, (ii) a priority claim for any administrative expense or unsecured claim (now
existing or hereafter arising of any kind or nature whatsoever, including any administrative expenses of the kind
specified in the Bankptcy Code, including Sections 105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c), 507,
546(c), 546(d), 726, 1113 and 1114 of the Bankrptcy Code) equal or superior to the Superpriority Claim of the
Agent and the Lenders in respect to the Obligations, except for the Carve-Out and the claims of Arcus; or (iii) any
lien on any Collateral, having a priority equal or superior to the lien in favor of the Agent in respect of the
Obligations, except for the Carve-Out and Permitted Encumbrances securing Senior Claims.

         7.22 The Case was commenced on the Filing Date in accordance with applicable law and proper notice
thereof and the proper notice under the Bankptcy Code for each of (a) the motion seeking approval of the Loan
Documents and the Interim Financing Order and the Final Order, (b) the hearing for the approval of the Interim
Financing Order and (c) the hearing for the approval of    the Final Order, has been or will be given. The Companies
shall give, on a timely basis as specified in the Order, all notices required to be given to all parties specified in such
Order.

        7.23 The Companies shall not request any extension of the period of time within which the Companies
have exclusive rights to solicit acceptance of its plan until the date which is nine (9) months from the Filing Date,

            7.24 The Companies covenant and agree, in each case, unless extended by Agent in sole and absolute
discretion, (a) the Interim Financing Order shall be entered no later than March 18,2008; (b) the Final Order shall
be entered no later than April 4, 2008.

SECTION 8               Interest, Fees and Expenses

            8.1 (a) Except as set forth in Paragraph 8.13 of Section 8 of this Financing Agreement, interest
on the Revolving Loans shall be payable monthly as of the end of each month, Revolving Loans that are Chase
Bank Rate Loans shall be at a rate equal to the Chase Bank Rate plus one quarter of one percent (0,25%) per annum
on the aggregate net balances owing by the Companies to the Agent in the Revolving Loan Account at the close of
each day during such month, In the event of any change in said Chase Bank Rate, the rate hereunder for Chase
Bank Rate Loans shall change, as of the date of such change, so as to remain equal to one quarter of one percent
(0.25%) above the new Chase Bank Rate, The rate hereunder shall be calculated based on a 360-day year. The



                                                                           -39-
                                                                                                             B # 761460 v.S
 Case 08-14631-GMB                      Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                    Desc
                                      Finance Agreement - Part 2 Page 3 of 46


Agent shall be entitled to charge the Companies' Revolving Loan Account at the rate provided for herein when due
until all Obligations have been paid in full, in cash.

                        (b) Notwithstanding any provision to the contrary contained in this Section 8, in the event
that the sum of (i) the outstanding Revolving Loans and (ii) the outstanding Letters of Credit exceed the lesser of
either, as applicable, (x) the maximum aggregate amount available under Sections 3 and 5 of this Financing
Agreement or (y) the Revolving Line of Credit for any other reason whatsoever, including any Overadvance made
pursuant to Paragraph 3.  1 (b)(ii) of Section 3 herein and/or in connection with any Agent Permitted Overadvances

(herein "Other Overadvances") and such Other Overadvances continue for five (5) or more consecutive days, the
average net balance of all Revolving Loans for such month shall bear interest at the Default Rate of Interest.

                  (c) Upon and after the occurrence and during the continuance of an Event of Default and the
giving of any required notice by the Agent in accordance with the provisions of Section 10, Paragraph 10.2 hereof,
all Obligations shall bear interest at the Default Rate ofInterest.

            8.2 Intentionally Omitted.

            8.3 In consideration of the Letter of Credit Guaranty of the Agent, the Companies shall pay the Agent
the Letter of Credit Guaranty Fee which shall be an amount equal to (a) three percent (3,0%) on the face amount of
each documentary Letter of Credit payable upon issuance thereof and (b) three percent (3,0%) per annum, payable
monthly, on the face amount of each standby Letter of Credit less the amount of any and all amounts previously
drawn under such standby Letter of Credit.

      8.4 Any and all charges, fees, commissions, costs and expenses charged to the Agent for the
Companies' account by any Issuing Bank in connection with, or arising out of, Letters of Credit or out of
transactions relating thereto will be charged to anyone or more of the Revolving Loan Accounts in full (but without
duplication) when charged to, or paid by the Agent, or as may be due upon any termination of this Financing
Agreement hereof, and when made by any such Issuing Bank shall be conclusive on the Agent.

            8.5 The Companies, jointly and severally, shall reimburse or pay (a) the Agent for: (i) all Out-of-
Pocket Expenses and (ii) any applicable Documentation Fee and (b) the Lenders for all Out-of Pocket Expenses
incurred after the occurrence of an Event of Default which is not Waived In Writing By Agent.

            8.6 Upon the last Business Day of each month, commencing on March 31, 2008, the Companies shall
pay to the Agent for the benefit of       the Agent and the other Lenders the Line of   Credit Fee,


            8.7 Intentionally          omitted,

            8.8 Intentionally omitted,

            8.9 The Companies shall pay the Agent's standard charges and fees for the Agent's personnel used by
the Agent for reviewing the books and records of the Companies and for verifying, testing, protecting, safeguarding,
preserving or disposing of all or any part of the Collateral (which fees shall be in addition to the Administrative
Management Fee and any Out-of-Pocket Expenses). As of the Closing Date, the standard rate charged for such
personnel is One Thousand Dollars ($1,000,00) per person per day; however Agent in its discretion may change
such standard rate periodically.

        8.10 Each of the Companies hereby authorizes Agent to charge their respective Revolving Loan
Account(s) with the amount of all their Obligations due hereunder and under the Agent Fee Letter as such payments
become due. The Companies hereby confirm and agree that they shall, jointly and severally, promptly pay any
Obligations to Agent upon its request therefor. Each of the Companies confirms that (a) its liability for any and all
of the fee obligations (including without limitation, those set forth in 8,6 through 8.9 above) and Out-of-Pocket
Expenses, set forth in this Financing Agreement and in any of the other Loan Documents is  joint and several, (b) the
Companies, as between themselves, shall determine how to pro-rate any such payments due hereunder, and (c) for
ease of administration, Agent may charge anyone or more of their Revolving Loan Accounts with the amount of


                                                                       -40-
                                                                                                         B # 761460 v.S
Case 08-14631-GMB                        Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                            Desc
                                       Finance Agreement - Part 2 Page 4 of 46


any such fee payments and any such charges which Agent may so make to any of the Companies' Revolving Loan
Account(s) as herein provided will be made as an accommodation to the Companies and solely at Agent's
discretion,

            8.11 In the event that the Agent or any Lender (or any financial institution which may from time to time
become a Lender hereunder) shall have determined in the exercise of its reasonable business judgment that,
subsequent to the Closing Date, any change in applicable law, rule, regulation or guideline regarding capital
adequacy, or any change in the interpretation or administration thereof, or compliance by the Agent or Lender with
any new request or directive regarding capital adequacy (whether or not having the force of law) of any such
authority, central bank or comparable agency, has or would have the effect of reducing the rate of return on the
Agent's or such Lender's capital as a consequence of its obligations hereunder to a level below that which the Agent
or such Lender could have achieved but for such adoption, change or compliance (taking into consideration the
Agent or such Lender's policies with respect to capital adequacy) by an amount reasonably deemed by the Agent or
such Lender to be material, then, from time to time, the Companies shall pay no later than five (5) days following
demand to the Agent or such Lender such additional amount or amounts as will compensate the Agent's or such
Lender's for such reduction, In determining such amount or amounts, the Agent or such Lender may use any
reasonable averaging or attribution methods, The protection of this Paragraph 8,11 shall be available to the Agent or
such Lender regardless of any possible contention of invalidity or inapplicability with respect to the applicable law,
regulation or condition. A certificate of the Agent or such Lender setting forth such amount or amounts as shall be
necessary to compensate the Agent or such Lender with respect to this Section 8 and the calculation thereof when
delivered to the Companies shall be conclusive on the Companies absent manifest error. Notwithstanding anything
in this paragraph to the contrary, in the event the Agent or such Lender has exercised its rights pursuant to this
paragraph, and subsequent thereto determines that the additional amounts paid by the Companies in whole or in part
exceed the amount which the Agent or such Lender actually required to be made whole, the excess, if any, shall be
returned to the Companies by the Agent or such Lender.

         8.12 In the event that any applicable law, treaty or governental regulation, or any change therein or in
the interpretation or application thereof, or compliance by the Agent or such Lender with any request or directive
(whether or not having the force oflaw) from any central bank or other financial, monetary or other authority, shall:

                        (a) subject the Agent or such Lender to any tax of any kind whatsoever with respect to this
Financing Agreement or change the basis of taxation of payments to the Agent or such Lender of principal, fees,
interest or any other amount .payable hereunder or under any other documents (except for changes in the rate of             tax
on the overall net income of the Agent or such Lender by the federal governent or the jurisdiction in which it
maintains its principal offce);

                        (b) impose, modify or hold applicable any reserve, special deposit, assessment or similar
requirement against assets held by, or deposits in or for the account of, advances or loans by, or other credit
extended by the Agent or such Lender by reason of or in respect to this Financing Agreement and the Loan
Documents, including (without limitation) pursuant to Regulation D of the Board of Governors of the Federal
Reserve System; or

                        (c) impose on the Agent or such Lender any other condition with respect to this Financing
Agreement or any other document, and the result of any of the foregoing is to increase the cost to the Agent or such
Lender of making, renewing or maintaining its loans hereunder by an amount that the Agent or such Lender deems
to be material in the exercise of its reasonable business judgment or to reduce the amount of any payment (whether
of principal, interest or otherwise) in respect of any of the loans by an amount that the Agent or such Lender deems
to be material in the exercise of its reasonable business judgment, then, in any case the Companies shall pay the
Agent or such Lender, within five (5) days following its demand, such additional cost or such reduction, as the case
may be, The Agent or such Lender shall certify the amount of such additional cost or reduced amount to the
Companies and the calculation thereof and such certification shall be conclusive upon the Companies absent
manifest error. Notwithstanding anything in this paragraph to the contrary, in the event the Agent or such Lender
has exercised its rights pursuant to this paragraph, and subsequent thereto determine that the additional amounts paid
by the Companies in whole or in part exceed the amount which the Agent or such Lender actually required pursuant
hereto, the excess, if any, shall be returned to the Companies by the Agent or such Lender.


                                                                           -4l-
                                                                                                                  B # 761460 v.S
 Case 08-14631-GMB                        Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                              Desc
                                        Finance Agreement - Part 2 Page 5 of 46


            8.13 The Companies may request LIB                        OR Loans with respect to Revolving Loans on the following
terms and conditions:

                        (a) Commencing on the date which is thirty (30) days after the Closing Date and from time
to time thereafter the Companies may elect (i) to request any loan made hereunder to be a LIB           OR Loan as of the
date of such loan or (ii) to convert Chase Bank Rate Loans to LIB             OR Loans, and may elect from time to time to
convert LIB      OR Loans to Chase Bank Rate Loans by giving the Agent at least three (3) Business Days' prior
irrevocable notice of such election, provided that any such conversion of LIB        OR Loans to Chase Bank Rate Loans
shall only be made, subject to the second following sentence, on the last day of an Interest Period with respect
thereto, Should the Companies elect to convert Chase Bank Rate Loans to LIB     OR Loans, it shall give the Agent at
least three (3) Business Days' prior irrevocable notice of such election, If the last day of an Interest Period with
respect to a loan that is to be converted is not a Business Day or Working Day, then such conversion shall be made
on the next succeeding Business Day or Working Day, as the case may be, and during the period from such last day
of an Interest Period to such succeeding Business Day, as the case may be, such loan shall bear interest as if it were
an Chase Bank Rate Loan, All or any part of outstanding Chase Bank Rate Loans then outstanding with respect to
Revolving Loans may be converted to LIB       OR Loans as provided herein, provided that partial conversions shall be
in a minimum principal amount of One Milion Dollars ($1,000,000,00) and in increments of One Hundred
Thousand Dollars ($100,000,00) in excess thereof.

                        (b) Any LIBOR Loans may be continued as such upon the expiration of an Interest Period,
provided the Companies so notify the Agent, at least three (3) Business Days' prior to the expiration of said Interest
Period, and orovided further that no LIB OR Loan may be continued as such upon the occurrence of any Event of
Default which has not been Waived In Writing By Agent under this Financing Agreement, but shall be
automatically converted to a Chase Bank Rate Loan on the last day of the Interest Period during which occurred
such Event of Default which has not been Waived In Writing By Agent. Absent such notification, LIB                        OR Rate
Loans shall convert to Chase Bank Rate Loans on the last day of the applicable Interest Period. Each notice of
election, conversion or continuation furnished by the                         Companies pursuant hereto shall specify whether such
election, conversion or continuation is for a one, two, three or six month period, Notwithstanding anything to the
contrary contained herein, the Agent (or any participant, if applicable) shall not be required to purchase United
States Dollar deposits in the London interbank market or from any other applicable LIB   OR Rate market or source or
otherwise "match fund" to fund LIB  OR Rate Loans, but any and all provisions hereof relating to LIBOR Rate Loans
shall be deemed to apply as if the Agent (and any participant, if applicable) had purchased such deposits to fund any
UBOR Rate Loans.

                        (c) The Companies may request a UBOR Loan, convert any Chase Bank Rate Loan or
continue any LIB        OR Loan provided there is then no Event of Default in effect which has not been Waived In
Writing By Agent.

        8.14 (a) The LIB         OR Loans shall bear interest for each Interest Period with respect thereto on the
unpaid principal amount thereof at a rate per annum equal to the LIBOR determined for each Interest Period in
accordance with the terms hereof             plus two percent (2,0%) with respect to Revolving Loans.

                        (b) If all or a portion of the outstanding principal amount of the Obligations shall not be paid
when due (whether at the stated maturity, by acceleration or otherwise), such outstanding amount, to the extent it is
a LIB OR Loan, shall be converted to a Chase Bank Rate Loan at the end of the last Interest Period therefor.

                        (c) The Companies may not have more than six (6) LIBOR Loans outstanding at any given
time,

         8.15 (a) Interest in respect        of the LIBOR Loans shall be calculated on the basis of a 360 day year
and shall be payable as of the end of each month,

                        (b) The Agent shall, at the request of the Companies, deliver to the Companies a statement
showing the quotations given by JPMorgan Chase Bank and the computations used in determining any interest rate
pursuant to Paragraph 8,14 of Section 8 hereof.



                                                                              -42-
                                                                                                                    B # 761460 v.S
 Case 08-14631-GMB                        Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                  Desc
                                        Finance Agreement - Part 2 Page 6 of 46


            8.16 As further set forth in Paragraph 8.12 above, in the event that the Agent (or any financial
 institution which may become a Lender hereunder) shall have determined in the exercise of its reasonable business
judgment (which determination shall be conclusive and binding upon the Companies) that by reason of
circumstances affecting the interbank LIB                 OR market, adequate and reasonable means do not exist for ascertaining
UBOR applicable for Interest Period with respect to: (a) a proposed loan that the Companies have requested be
made as a LIB        OR Loan; (b) a LIBOR Loan that wil result from the requested conversion of a Chase Bank Rate
Loan into LIB       OR Loan; or (c) the continuation of LIB          OR Loans beyond the expiration of the then current Interest
Period with respect thereto, the Agent shall forthwith give written notice of such determination to the Companies at
 least one day prior to, as the case may be, the requested borrowing date for such LIBOR Loan, the conversion date
 of such Chase Bank Rate Loan or the last day of such Interest Period, If such notice is given (i) any requested
UBOR Loan shall be made as a Chase Bank Rate Loan, (ii) any Chase Bank Rate Loan that was to have been
converted to a LIB       OR Loan shall be continued as a, Chase Bank Rate Loan, and (iii) any outstanding LIB              OR Loan
shall be converted, on the last day of the then current Interest Period with respect thereto, to a Chase Bank Rate
Loan, Until such notice has been withdrawn by the Agent, no further LIB       OR Loan shall be made nor shall the
Companies have the right to convert a Chase Bank Rate Loan to a LIB                           OR Loan,

         8.17 If any payment on a LIB    OR Loan becomes due and payable on a day other than a Business Day or
Working Day, the maturity thereof shall be extended to the next succeeding Business Day or Working Day unless
the result of such extension would be to extend such payment into another calendar month in which event such
payment shall be made on the immediately preceding Business Day or Working Day,

            8.18 Notwithstanding any other provisions herein, if any law, regulation, treaty or directive or any
change therein or in the interpretation or application thereof shall make it unlawful for the Agent to make or
maintain LIB OR Loans as contemplated herein, the then outstanding LIBOR Loans, if any, shall be converted
automatically to Chase Bank Rate Loans as of the end of such month, or within such earlier period as required by
law, The Companies hereby agree promptly to pay the Agent or any Lender, upon demand, any additional amounts
necessary to compensate the Agent for any costs incurred by the Agent or any Lender in making any conversion in
accordance with this Section 8 including, but not limited to, any interest or fees payable by the Agent or any Lender
to lenders of funds obtained by the Agent in order to make or maintain UBOR Loans hereunder.

            8.19 The Companies agree to indemnify and to hold the Agent and the Lenders harmless from any loss
or expense which the Agent or such Lender may sustain or incur as a consequence of: (a) default by the Companies
in payment of the principal amount of or interest on any LIBOR Loans, as and when the same shall be due and
payable in accordance with the terms of this Financing Agreement, including, but not limited to, any such loss or
expense arising from interest or fees payable by the Agent or to Lenders of funds obtained by either of them in order
to maintain the LIBOR Loans hereunder; (b) default by the Companies in making a borrowing or conversion after
the Companies have given a notice in accordance with Paragraph 8.13 of Section 8 hereof; (c) any prepayment of
LIB  OR Loans on a day which is not the last day of the Interest Period applicable thereto, including, without
limitation, prepayments arising as a result of the application of the proceeds of Collateral to the Revolving Loans;
and (d) default by the Companies in making any prepayment after the Companies have given notice to the Agent
thereof. The determination by the Agent of the amount of any such loss or expense, when set forth in a written
notice to the Companies, containing the Agent's calculations thereof in reasonable detail, shall be conclusive on the
Companies in the absence of manifest error. Calculation of all amounts payable under this paragraph with regard to
UBOR Loans shall be made as though the Agent had actually funded the LIB          OR Loans through the purchase of
deposits in the relevant market and currency, as the case may be, bearing interest at the rate applicable to such
LIBOR Loans in an amount equal to the amount of the LIB                            OR Loans anus having a maturity comparable to the
relevant interest period; provided, however, that the Agent may fund each of the LIB                    OR Loans in any manner the
Agent sees fit and the foregoing assumption shall be used only for calculation of amounts payable under this
paragraph, In addition, notwithstanding anything to the contrary contained herein, the Agent shall apply all
proceeds of Collateral and all other amounts received by it from or on behalf of the Companies (A) first to the Chase
Bank Rate Loans and (B) then to LIB    OR Loans; provided, however, (x) upon the occurrence of an Event of Default
which is not Waived in Writing By Agent or (y) in the event the aggregate amount of outstanding Loans and Letters
of Credit exceeds Availability or the applicable maximum levels set forth therefor, the Agent (A) may apply all
proceeds of Collateral, first to the fees and expenses due to Agent, second to accrued interest with respect to the
Obligations, third to the outstanding principal balance of the Obligations, in such order as the Required Lenders may
elect, and fourth to any other Obligations in such order as the Required Lenders may elect. In the event that any


                                                                           -43-
                                                                                                                         B # 761460 v.S
 Case 08-14631-GMB                        Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                      Desc
                                        Finance Agreement - Part 2 Page 7 of 46


such amounts are applied to Revolving Loans which are LIB                             OR Loans, such application shall   be treated as a
prepayment of such loans .and the Agent shall be entitled to indemnification hereunder. This covenant shall survive
termination of      this Financing Agreement and payment of                 the outstanding Obligations,

            8.20 Notwithstanding anything to the contrary in this Financing Agreement, in the event that, by reason
of any Regulatory Change (for purposes hereof "Ree:ulatory Chane:e" shall mean, with respect to the Agent, any
change after the date of this Financing Agreement in United States federal, state or foreign law or regulations
(including, without limitation, Regulation the adoption or making after such date of any interpretation, directive or
request applying to a class of          banks including the Agent of or under any United States federal, state or foreign law or
regulations (whether or not having the force of law and whether or not failure to comply, therewith would be
unlawful), the Agent either (a) incurs any material additional costs based on or measured by the excess above a
specified level of the amount of a category of deposits or other liabilities of such bank which includes deposits by
reference to which the interest rate on LIB           OR Loans is determined    as provided in this Financing Agreement or a
category of extension of credit or other assets of the Agent which includes LIBOR Loans, or (b) becomes subject
any material restrictions on the amount of such a category of liabilities or assets which it may hold, then, if the
Agent so elects by notice to the Companies, the obligation of the Agent to make or continue, or to convert Chase
Bank Rate Loans into UBOR Loans hereunder shall be suspended until such Regulatory Change ceases to be in
effect.

          8.21 For purposes of each of the indemnity provisions of this Section 8 and all other indemnity
provisions contained in this Financing Agreement, any reference to the Agent shall include all Lenders and any
financial institution which may become a Lender subsequent to the Closing Date,

SECTION 9               Powers

         Each of the Companies hereby constitutes the Agent, or any person or agent the Agent may designate, as its
attorney-in-fact, at such Company's cost and expense, to exercise all of     the following powers, which being coupled
with an interest, shall be irrevocable until all Obligations to the Agent have been paid in full, in cash:

                        (a) To receive, take, endorse, sign, assign and deliver, all in the name of the Agent or the
Companies or anyone of them, any and all checks, notes, drafts, and other documents or instruments relating to the
Collateral;

                        (b)         To receive, open and dispose of all mail addressed to the Companies or anyone of                them
and to notify postal authorities to change the address for delivery thereof to such address as the Agent may
designate;

                        (c) To request from customers indebted on Accounts at any time, in the name of the Agent
information concerning the amounts owing on the Accounts;

                        (d) To request from customers indebted on Accounts at any time, in the name of the
Companies or anyone of them, in the name of certified public accountant designated by the Agent or in the name of
the Agent's designee, information concerning the amounts owing on the Accounts;

                  (e) To transmit to customers indebted on Accounts notice of
                                                                                    the Agent's interest therein and
to notify customers indebted on Accounts to make payment directly to the Agent for the Companies' account; and

                        (f) To take or bring, in the name of                   the Agent or the Companies or anyone of    them, all steps,
actions, suits or proceedings deemed by the Agent necessary or desirable to enforce or effect collection of the
Accounts.

            Notwithstanding anything hereinabove contained to the contrary, the powers set forth in (b), (c), (e) and (f)
above may only be exercised after the occurrence of an Event of Default and until such time as such Event of
Default is Waived In Writing By Agent.



                                                                           -44-
                                                                                                                             B # 761460 v.S
 Case 08-14631-GMB                       Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                          Desc
                                       Finance Agreement - Part 2 Page 8 of 46


SECTION 10 Events of Default and Remedies

         10.1 Notwithstanding anything hereinabove to the contrary, the Agent may, and at the direction of the
Required Lenders shall, terminate this Financing Agreement immediately upon the occurrence of any of the
following Events of Default:

                       (a) cessation of the business of any Company (except as the result of (i) the sale of
substantially all of the assets of such Company and the application of the proceeds of such sale to the Obligations,
all in accordance with the terms and conditions of     this Financing Agreement and the Intercreditor Agreement, or (ii)
the contribution of substantially all of the assets of such Company to another Company);

                 (b) the Companies shall be unable to pay their respective post-petition debts as they mature,
shall fail to comply with any order of the Bankptcy Court in any material respect, or shall fail to make such
payments, as and when such payments become due;

                       (c) (i) except as otherwise agreed to by the Agent, the bringing of a motion by any
Company or any other Person in the Bankptcy Case to obtain additional financing under Section 364 of the
Bankptcy Code, to use cash collateral of the Lenders under Section 363 of the Bankptcy Code, or to recover
from any portion of the Collateral any costs or expenses of preserving or disposing of such Collateral under Section
506(c), Section 552 of the Bankptcy Code, or otherwise;

                                   (ii) any Company or any other Person seeks to incur, in a manner inconsistent with
this Agreement or the then applicable Financing Order, indebtedness that is secured by a lien with priority equal to
or superior to the post-petition liens or which is given super-priority administrative expense status under Bankptcy
Code Section 364(c)(i);

                                   (iii) notice is given of a sale under Section 363 of the Bankrptcy Code of all or part
of the post-petition Collateral as to which Agent and Lenders are not proposed to be paid in full or with respect to
which the Agent has not provided its prior written consent;

                                   (iv) the Bankptcy Court shall enter an order granting relief from or modifying the
automatic stay of Section 362 of the Bankptcy Code (A) to allow any creditor to execute upon or enforce a lien on
any Collateral, or (B) with respect to any lien of, or the granting of any lien on, any Collateral to any state or local
environmental or regulatory agency or authority, which in either case would have a material adverse effect on (1)
any Company's ability to repay the Obligations hereunder in accordance with the terms hereof or (2) the Collateral
or the Agent's liens granted hereunder on the Collateral or the priority of a material portion of such liens;

                                    (v) an order is entered by the Bankptcy Court appointing, or any Company or any
other Person fies an application for an order seeking the appointment of, without the prior written consent of the
Agent, an examiner with enlarged powers relating to the execution of the business (i,e., powers beyond those set
forth in Sections 1 106(a)(3) and (4) of            the Bankptcy Code) under Section 1106(b) of   the Bankptcy Code;

                                    (vi) an order is entered by the Bankptcy Court, without the prior written consent of
the Agent, (A) permitting any administrative expense or any claim (now existing or hereafter arising, of any kind or
nature whatsoever) to have administrative priority as to any Company equal or superior to the priority of the Agent
with respect to the Obligations, except for any Carve-Out agreed to by the Agent in any Financing Order, or (B)
granting or permitting the granting of a lien on the Collateral other than a Pennitted Encumbrance;

                                    (vii) any Company fails to file a plan of reorganization containing a provision for
termination of this Agreement and the indefeasible repayment in full, in cash of the Obligations of the Companies
within the exclusivity period provided in Section 1121 of                   the Bankptcy Code;

                                    (viii) an order is entered by the Bankrptcy Court confirming a plan of reorganization
in the Bankrptcy Case which does not (i) contain a provision for termination of this Agreement and the indefeasible
payment in full in cash of all Obligations of the Companies under this Agreement and the other Loan Documents


                                                                          -45-
                                                                                                                B # 761460 v.S
 Case 08-14631-GMB                        Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                           Desc
                                        Finance Agreement - Part 2 Page 9 of 46



(including, for these purposes, any Existing Financing Agreements) on or before the effective date of such plan or
plans, and (ii) provide for the continuation of the liens and security interests granted to the Agent (and maintains the
priorities of such liens and security interests) until such plan effective date, unless the Obligations have been
indefeasibly paid in full, in cash, and this Agreement and all other Loan Documents have been terminated;

                                     (ix) any Person shall attempt to invalidate, reduce or otherwise impair the liens or
security interests of the Agent, or any claims or rights against such Person, or to subject any of the Collateral to
assessment pursuant to Section 506(c), 552(b), or otherwise, of the Bankrptcy Code, or pursuant to other applicable
law;

                                     (x) any lien or security interest created by this Agreement or the Financing Order
shall, for any reason, cease to be valid;

                                     (xi) any action is commenced which contests any provision of any Financing Order,
or the validity, perfection, priority or enforceability of any of the liens and security interests of the Agent or the
Lenders, as applicable;

                                     (xii) the Bankrptcy Case is dismissed, or is converted to a case under chapter 7 of
the Bankrptcy Code or a chapter 11 trustee is appointed, or

                                     (xiii) any Company shall fail to perform any of its obligations in accordance with the
terms of   the then applicable Financing Order,

                       (d) the Bankrptcy Court shall enter any order (i) suspending, superseding, revoking,
reversing, staying, vacating, rescinding, modifying, supplementing or otherwise amending either Financing Order,
this Agreement or any other Loan Document (except as otherwise approved by Agent in writing), or (ii) to grant or
permit the grant of a lien on the Collateral other than Permitted Encumbrances;

                       (e) the entry of an order in the Case avoiding or requiring repayment of any portion of the
payments made on account of the Obligations owning under this Agreement or the other Loan Documents;

                       (f) breach by any Company of any warranty, representation or covenant contained herein
(other than those referred to in sub-paragraph (g) below) or in any other written agreement between any Company,
the Agent or any Lender, provided that such Default of any of the warranties, representations or covenants referred
in this clause (f) shall not be deemed to be an Event of Default unless and until such Default shall remain
unremedied to the Agent's satisfaction for a period often (10) days from the date of such breach;

                       (g) breach by any Company of any warranty, representation or covenant of Paragraphs 3.3
(other than the fourth sentence of         Paragraph 3,3) and 3.4 of Section 3 and Section 4 hereof; Paragraphs 6.3 and 6.4
(other than the first sentence of        Paragraph 6.4) of Section 6 hereof and Paragraphs 7,1, 7,5, 7.6, and 7,8 through 7.26
hereof;

                        (h) failure of the Companies or anyone of them to pay any of the Obligations within five (5)
Business Days of the due date thereof provided that nothing contained herein shall prohibit the Agent from charging
such amounts to the Revolving Loan Accounts on the due date thereof;

                  (i) with respect to any Plan       other than a "multiemployer plan," as defined in Section 3(37) of
ERISA, and other than a defined contribution plan (solely for the purposes of clauses (ii), (iii), (iv) and (v)), any
Company shall (i) engage in any "prohibited transaction" as defined in ERISA, (ii) have any "accumulated funding
deficiency" as defined in ERISA, (iii) have any "reportable event" as defined in ERISA, for which the requirement
to provide notice has not, within the regulations issued under ERISA, been waived, (iv) terminate any Plan, or (v) be
engaged in any proceeding in which the Pension Benefit Guaranty Corporation shall seek appointment, or is
appointed, as trustee or administrator of such Plan, and with respect to this sub-paragraph (g) such event or
condition (x) remains uncured for a period of thirty (30) days from date of occurrence and (y) could, in the



                                                                 -46-
                                                                                                                  B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                           Desc
                  Finance Agreement - Part 2 Page 10 of 46


reasonable opinion of  the Agent, subject such Company to any tax, penalty or other liability material to the business,
operations or financial condition of such Company;

                        (j) Intentionally            omitted;

                        (k) without the prior wrtten consent of the Agent or as expressly permitted in the
Subordination Agreement, the Companies or anyone of them shall (x) amend or modify the Subordinated Debt, or
(y) make any payment on account of the Subordinated Debt;

                (l) the occurrence of any default or event of default (after giving effect to any applicable
grace or cure periods) under any instrument or agreement evidencing (x) Subordinated Debt or (y) any other
Indebtedness of the Companies or anyone of them having a principal amount in excess of One Hundred Fifty
Thousand Dollars ($150,000,00);

                 (m) the failure of any Company to perform, keep, or observe any of the covenants, conditions,
premises, agreements or obligations of such Company under the applicable Financing Order;

                        (n) (i) Steven S. Grabell, as Chief Executive Offcer, ceases for any reason whatsoever to be
actively engaged in the management of the Companies unless a successor acceptable to Agent is appointed within
sixty (60) days or (ii) more than twenty percent (20%) of the membership interests or stock of (x) the Companies
(other than Shapes/Arch) presently held (directly or indirectly) by the Parent or (y) the Parent are transferred to any
Person not an equitable or beneficial owner of such stock or membership interests as of the execution of this
Financing Agreement

                        (0) an event of default that has not been waived in writing by Arcus occurs under the Arcus
Term Loan Documents;

                        (p) the receipt by any Company or Agent of a Notice of Non-Funding, or the
                                                                                                             failure by
Arcus to fund the Arcus Term Loan, or any draw thereunder, under the Arcus Term Loan Agreement; or

                        (q) the making by any Company of any payment not permitted by, or in violation of, the
Intercreditor Agreement.

            10.2 Upon the occurrence of an Event of Default, unless such Event of Default has been Waived In
Writing By Agent, notwithstanding the provisions of Section 362 of the Bankptcy Code, and without any further
application, motion or notice to, or order from, the Bankptcy Court, the Agent in its sole discretion may, or upon
the written direction of the Required Lenders the Agent shall, declare that, all loans, advances and extensions of
credit provided for in Section 3 of this Financing Agreement shall be thereafter in the Agent's or the Required
Lenders' sole discretion, and the obligation of the Agent and/or the Lenders to make Revolving Loans, open Letters
of Credit and/or provide Letter of Credit Guaranties shall cease unless such Event of Default is Waived In Writing
By Agent or cured to the Agent's or the Required Lenders' satisfaction in the exercise of the Agent's and the
Lenders' reasonable judgment. Upon the occurrence of an Event of Default not Waived In Writing By Agent,
notwithstanding the provisions of Section 362 of the Bankptcy Code, and without any further application, motion
or notice to, or order from, the Bankptcy Court, without prior notice, the Agent in its sole discretion may, or upon
the written direction of the Required Lenders the Agent shall, take anyone or more of the following actions,
including, without limitation: (a) to declare that all Obligations shall become immediately due and payable; (b) the
Agent may charge the Companies the Default Rate of Interest on all then outstanding or thereafter incurred
Obligations in lieu of the interest provided for in Section 8 of this Financing Agreement, provided that, with respect
to this clause "(b)" the Agent has given the Companies written notice of   the Event of Default; and (c) the Agent may
immediately terminate this Financing Agreement upon notice to the Companies; and/or (d) Agent may exercise any
rights and remedies provided to Agent or Lenders under the Loan Documents or at law or equity, including all
remedies provided under the UCC; and, pursuant to the Order, the automatic stay of Section 362 of the Bankrptcy
Code shall be modified and vacated (at Agent's election) to permit Agent to exercise its remedies under this
Agreement and the Loan Documents, without further application or motion to, or order from, the Bankptcy Court;
provided, however, notwithstanding anything to the contrary contained herein, Agent shall be permitted to eXercise


                                                                           -47-
                                                                                                           B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                            Desc
                  Finance Agreement - Part 2 Page 11 of 46


any remedy in a nature of a liquidation of, or foreclosure on, any interest of Companies in the Collateral only upon
three (3) Business Days prior written notice to Borrowers, the United States Trustee for the District of New Jersey,
and any counsel approved by the Bankptcy Court for the Creditors' Committee (the "Remedies Notice Period");
provided, however, that during such Remedies Notice Period, (i) the Borrowers may not challenge or object to or
file any motions attempting to limit the remedies of Agent and Lenders hereunder other than to take any and all
actions necessary to cure such Event of  Default to Agent's satisfaction and (ii) Borrowers shall have no right to use
or seek to use the Collateral or request or obtain Revolving Loans ; provided further if the Bankptcy Court does
not determine that an Event of Default has not occurred, and the Event of Default has not been Waived In Writing
By Agent, upon the expiration of such Remedies Notice Period, Agent shall have relief from the automatic stay
without further notice or order as set forth herein, Upon the occurrence of an Event of Default and the exercise by
Agent of its rights and remedies under this Agreement and the other Loan Documents, Borrowers shall assist Agent
and Lenders in effecting a sale or other disposition of the Collateral upon such terms as are designed to maximize
the proceeds obtainable from such sale or other disposition; such assistance shall include, without limitation (if so
requested), filing any motions under Sections 363 or 365 or any other applicable provisions of    the Bankptcy Code
to authorize the transfer of all or any portion of the Collateral or otherwise assume and assign any lease or executory
contract included therein, The exercise of any option is not exclusive of any other option, which may be exercised
at any time by the Agent.

            10.3 Immediately upon the occurrence of any Event of Default, unless such Event of Default has been
Waived In Writing By Agent, the Agent may, to the extent permitted by law: (a) remove from any premises where
same may be located any and all books and records, computers, electronic media and software programs associated
with any Collateral (including any electronic records, contracts and signatures pertaining thereto), documents,
instrments, files and records, and any receptacles or cabinets containing same, relating to the Accounts, or the
Agent may use, at the Companies' expense, such of       the Companies' personnel, supplies or space at the Companies'
places of business or otherwise, as may be necessary to properly administer and control the Accounts or the handling
of collections and realizations thereon; (b) bring suit, in the name of the Companies or the Agent, and generally shall
have all other rights respecting said Accounts, including without limitation the right to: accelerate or extend the
time of payment, settle, compromise, release in whole or in part any amounts owing on any Accounts and issue
credits in the name of the Companies or the Agent; (c) sell, assign and deliver the Collateral and any returned,
reclaimed or repossessed Inventory, with or without advertisement, at public or private sale, for cash, on credit or
otherwise, at the Agent's sole option and discretion, and the Agent may bid or become a purchaser at any such sale,
free from any right of redemption, which right is hereby expressly waived by the Companies and, in furtherance of
the foregoing, the Companies shall seek authorization from the Bankptcy Court to conduct, on any of the
Companies' owned or leased premises, one or more sales of all or any portion of the Collateral pursuant to Section
363 of the Bankptcy Code; (d) foreclose the security interests in the Collateral created herein or by the Loan
Documents by any available judicial procedure, or to take possession of any or all of the Collateral, including any
Inventory, Equipment and/or Other Collateral without judicial process, and to enter any premises where any
Inventory and Equipment and/or Other Collateral may be located for the purpose of taking possession of or
removing the same; and (e) exercise any other rights and remedies provided in law, in equity, by contract or
otherwise, The Agent shall have the right, without notice or advertisement, to sell, lease, or otherwise dispose of all
or any part of the Collateral, whether in its then condition or after further preparation or processing, in the name of
the Companies or the Agent, or in the name of such other party as the Agent may designate, either at public or
private sale or at any broker's board, in lots or in bulk, for cash or for credit, with or without warranties or
representations (including but not limited to warranties of title, possession, quiet enjoyment and the like), and upon
such other terms and conditions as the Agent in its sole discretion may dc;em advisable, and the Agent shall have the
right to purchase at any such sale, If any Inventory and Equipment shall require rebuilding, repairing, maintenance
or preparation, the Agent shall have the right, at its option, to do such of the aforesaid as is necessary, for the
purpose of putting the Inventory and Equipment in such saleable form as the Agent shall deem appropriate and any
such costs shall be deemed an Obligation hereunder. Any action taken by Agent pursuant to this paragraph shall not
affect commercial reasonableness of the sale. The Companies agree, at the request of the Agent, to assemble the
Inventory and Equipment and to make it available to the Agent at premises of the Companies or elsewhere and to
make available to the Agent the premises and facilities of the Companies for the purpose of the Agent's taking
possession of removing or putting the Inventory and Equipment in saleable form, If notice of intended disposition
of any Collateral is required by law, it is agreed that ten (10) days notice shall constitute reasonable notification and
full compliance with the    law, The net cash proceeds resulting from the Agent's exercise of any of the foregoing
rights, (after deducting all charges, costs and expenses, including reasonable attorneys' fees) shall be applied by the

                                                                            -48-
                                                                                                            B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                             Desc
                  Finance Agreement - Part 2 Page 12 of 46


Agent to the payment of the Obligations, whether due or to become due, in such order as the Agent may elect, and
the Companies shall remain liable to the Agent for any deficiencies, and the Agent in turn agrees to remit to the
Companies or its successors or assigns, any surplus resulting therefrom. The enumeration of the foregoing rights is
not intended to be exhaustive and the exercise of any right shall not preclude the exercise of any other rights, all of
which shall be cumulative, The Companies hereby indemnify the Agent and hold the Agent harmless from any and
all costs, expenses, claims, liabilities, Out-of-Pocket Expenses or otherwise, incurred or imposed on the Agent by
reason of the exercise of any of its rights, remedies and interests hereunder, including, without limitation, from any
sale or transfer of Collateral, preserving, maintaining or securing the Collateral, defending its interests in Collateral
(including pursuant to any claims brought by the Companies, the Companies as debtors-in-possession, any secured
or unsecured creditors of the Companies, any trustee or receiver in bankptcy, or otherwise), and the Companies
hereby agree to so indemnify and hold the Agent harmless, absent the Agent's gross negligence or wilful
misconduct as finally determined by a court of competent jurisdiction, The foregoing indemnification shall survive
termination of this Financing Agreement until such time as all Obligations (including the foregoing) have been
finally and indefeasibly paid in full, in cash, In furtherance thereof the Agent, may establish such reserves for
Obligations hereunder (including any contingent Obligations) as it may deem advisable in its reasonable business
judgment. Any applicable mortgagees), deed(s) of trust or assignment(s) issued to the Agent on the Real Estate shall
govern the rights and remedies of the Agent thereto,

           10.4 The Companies hereby acknowledge and agree that Agent shall have no duty to marshal the
Collateral and that Agent make take and dispose of any or all of the Collateral in such order and at such time or
times as Agent, acting in its discretion, may elect.

SECTION 11 Termination

        This Agreement shall terminate on the earlier to occur of the (a) DIP Revolver Maturity Date or (b) the
Anniversary Date, provided that, at the request of the Companies, Agent and Lenders shall extend the Aniversary
Date of this Agreement for up to an additional nine (9) months, in one or more weekly or monthly periods; provided,
that the Arcus Term Loan has been extended for the same additional period(s), and no Default or Event of Default
has occurred or is continuing. Notwithstanding the foregoing, the Agent may terminate the Financing Agreement
immediately upon the occurrence of an Event of Default. The Companies may terminate this Financing Agreement
at any time upon not less than ten (10) days' prior written notice of the date of termination (the "Noticed
Termination Date") given to the Agent by Borrower Representative, provided that the Companies shall have up to
ten (10) additional days after the Noticed Termination Date in which to repay the Obligations in full, in cash. Notice
of termination as aforesaid by anyone Company shall be deemed to be a notice by all of the Companies for purposes
hereof. All Obligations shall become due and payable as of any termination hereunder or under Section 10 hereof
and, pending a final accounting, the Agent may withhold any balances in the Companies' accounts (unless supplied
with an indemnity satisfactory to the Agent) to cover all of the Obligations, whether absolute or contingent,
including, but not limited to, cash reserves for any contingent Obligations, including an amount of one hundred ten
percent (110%) of the face amount of any outstanding Letters of Credit with an expiry date on, or within thirty (30)
days of the effective date of termination of this Financing Agreement; provided however, as to reserves for
environmental claims, the amount to be held shall be limited to an amount for which a claim has been asserted
against Agent or any Lender. All of the Agent's rights, liens and security interests shall continue after any
termination until all Obligations have been paid and satisfied in full,

SECTION 12 Miscellaneous

         12.1 Each of the Companies hereby waives diligence, notice of intent to accelerate, notice of
acceleration, demand, presentment and protest and any notices (other than those specifically provided for herein)
hereof as well as notice of nonpayment. No delay or omission of the Agent, the Lenders or the Companies to
exercise any right or remedy hereunder, whether before or after the happening of any Event of       Default, shall impair
any such right or shall operate as a waiver thereof or as a waiver of any such Event of Default. No single or partial
exercise by the Agent of any right or remedy precludes any other or further exercise thereof or precludes any other
right or remedy,

            12.2 This Financing Agreement and the other Loan Documents executed and delivered in connection
therewith constitute the entire agreement among the Companies and the Agent and Lender; supersede any prior

                                                                           -49-
                                                                                                             B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                           Desc
                  Finance Agreement - Part 2 Page 13 of 46


agreements; can be changed only by a writing signed by the Companies, the Agent and the Required Lenders (or by
the Agent at the written request of the Required Lenders), unless the consent of all Lenders is required pursuant to
Paragraph 14.10 herein below, and shall bind and benefit the Companies, the Lenders and the Agent and their
respective successors and assigns, and any such waiver or consent shall be effective only in the specific instance and
for the specific purpose for which given.

         12.3 In no event shall the Companies, upon demand by the Agent for payment of any Indebtedness
relating hereto, by acceleration of the maturity thereof, or otherwise, be obligated to pay interest and fees in excess
of the amount permitted by law. Regardless of any provision herein or in any agreement made in connection
herewith, the Agent and Lenders shall never be entitled to receive, charge or apply, as interest on any indebtedness
relating hereto, any amount in excess of the maximum amount of interest permissible under applicable law, If the
Agent ever receives, collects or applies any such excess, it shall be deemed a partial repayment of principal and
treated as such; and if principal is paid in full, in cash, any remaining excess shall be refunded to the Companies.
This paragraph shall control every other provision hereof, the Loan Documents and of any other agreement made in
connection herewith,

         12.4 If any provision hereof or of any other agreement made in connection herewith is held to be illegal
or unenforceable, such provision shall be fully severable, and the remaining provisions of the applicable agreement
shall remain in full force and effect and shall not be affected by such provision's severance, Furthermore, in lieu of
any such provision, there shall be added automatically as a part of the applicable agreement a legal and enforceable
provision as similar in terms to the severed provision as may be possible.

      12.5 EACH OF THE COMPANIES, THE LENDERS AND THE AGENT HEREBY WAIVE
ANY RIGHT TO A TRIAL BY JURY IN ANY ACTION OR PROCEEDING ARISING OUT OF THIS
FINANCING AGREEMENT, THE OTHER LOAN DOCUMENTS OR THE TRASACTIONS
CONTEMPLATED HEREUNDER OR THEREUNDER. EACH OF THE COMPANIES HEREBY
IRRVOCABLY WAIVES PERSONAL SERVICE OF PROCESS AND CONSENTS TO SERVICE OF
PROCESS BY CERTIFIED OR REGISTERED MAIL, RETURN RECEIPT REQUESTED. IN NO EVENT
WILL THE AGENT BE LIABLE FOR LOST PROFITS OR OTHER SPECIAL OR CONSEQUENTIAL
DAMAGES.

                        IF (I) THE BANKRUPTCY CASE IS DISMISSED, (II) THE BANKRUPTCY COURT
ABSTAINS FROM HEARING ANY ACTIONS OR PROCEEDINGS ARISING IN CONNECTION WITH
THIS AGREEMENT OR ANY OF THE              OTHER LOAN DOCUMENTS (OR IN ANY WAY CONNECTED
WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO IN
RESPECT OF THIS AGREEMENT OR ANY OF THE OTHER LOAN DOCUMENTS OR THE
TRANSACTIONS RELATED HERETO OR THERETO) OR (III) THE BANKRUPTCY COURT
REFUSES TO EXERCISE JURISDICTION OVER ANY ACTIONS OR PROCEEDINGS ARISING IN
CONNECTION WITH THIS AGREEMENT. OR ANY OF THE OTHER LOAN DOCUMENTS (OR IN
ANY WAY CONNECTED WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE
PARTIES HERETO IN RESPECT OF THIS AGREEMENT OR ANY OF THE OTHER LOAN
DOCUMENTS OR THE TRANSACTIONS RELATED HERETO OR THERETO), THEN_ALL ACTIONS
OR PROCEEDINGS IN ANY WAY, MANNER OR RESPECT, ARISING OUT OF OR FROM OR
RELATED TO THIS AGREEMENT, THE OTHER LOAN DOCUMENTS OR THE COLLATERAL
SHALL BE LITIGATED IN COURTS \HA VING SITUS WITHIN THE CITY OF NEW YORK, STATE OF
NEW YORK. EACH OF THE COMPANIES HEREBY CONSENTS AND SUBMITS TO THE
JURISDICTION OF ANY LOCAL, STATE OR FEDERAL COURTS LOCATED WITHIN SAID CITY
AND STATE. EACH OF THE COMPANIES HEREBY WAIVES ANY RIGHT IT MAY HAVE TO
TRANSFER OR CHANGE THE VENUE OF ANY LITIGATION BROUGHT AGAINST ANY COMPANY
BY THE LENDERS IN ACCORDANCE WITH THIS SECTION.

         12.6 Except as otherwise herein provided, any notice or other communication required hereunder shall
be in writing (provided that, any electronic communications from the Companies with respect to any request,
transmission, document, electronic signature, electronic mail or facsimile transmission shall be deemed binding on
the Companies for purposes of this Financing Agreement, provided further that any such transmission shall not
relieve the Companies from any other obligation hereunder to communicate further in writing), and shall be deemed

                                                          -50-
                                                                                                           B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                           Desc
                  Finance Agreement - Part 2 Page 14 of 46


to have been validly served, given or delivered when hand delivered or sent by facsimile, or three (3) days after
deposit in the United States mail, with proper first class postage prepaid and addressed to the party to be notified or
to such other address as any party hereto may designate for itself by like notice, as follows:

                  (a) if to CIT, at:
                           The CIT Group/Business Credit, Inc,
                           11 West 42nd Street, 13th Floor
                           New   York, New   York 10036
                           Attn: Portfolio Manager
                           Fax No.: (212) 461-7760


                           With a courtesy copy of any material (by way of example, relating to the occurrence of
                           an Event of Default) notice to Agent's counsel at:

                           Stradley, Ronon, Stevens & Young, LLP
                           2600 Commerce Square
                           Philadelphia, P A 19103
                           Attn: Gary p, Scharmett, Esq,
                           Fax No.: (215) 564-8120

                  (b)      if to the Companies or any of them to Shapes/Arch, in its capacity of Borrower
Representative, at:

                           c/o Shapes Arch Holdings, L.L.C.
                           9000 River Road
                           Delair, NJ 08110
                           Attn: Chief Executive Officer
                           Fax No,: (856) 662-6069


                           With a courtesy copy of any material (by way of example, relating to the occurrence of
                           an Event of Default) notice to the Companies' counsel at:

                           Cozen O'Connor
                           Chase Manhattan Center
                           1201 North Market Street, Suite 1400
                           Wilmington, DE 19081
                           Attn: Mark E. Felger, Esq.
                           Fax No.: (302) 295-2013


                                      and

                            Blank Rome LLP
                            One Logan Square
                            Philadelphia, P A 19103
                            Attn: Lawrence F. Flick, II, Esq,
                            Fax No,: (215) 832-5556


provided, however, that the failure of any Person to provide another Person's counsel with a copy of such notice
shall not invalidate such notice and shall not give such Person any rights, claims or defenses due to the failure to
provide such additional notice. Each of the Companies hereby designates Shapes/Arch as its representative and
agent ("Borrower Representative") on its behalf for the purposes of giving and receiving all notices and consents
under this Financing Agreement, the other Loan Documents or under any other documents, instrument or agreement
related thereto and taking all other actions (including in respect of compliance with covenants) on behalf of itself
and/or each of the other Companies under the Loan Documents, Borrower Representative hereby accepts such

                                                          -51-
                                                                                                           B#761460v.5
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                           Desc
                  Finance Agreement - Part 2 Page 15 of 46


appointment. Agent may regard any notice or other communication pursuant to any of the Loan Documents from
Borrower Representative as a notice or communication from each of the Companies, and may give any notice or
communication required or permitted to be given to any of the Companies under any of the Loan Documents to
Borrower Representative, Each of the Companies agrees that each notice, election, representation and warranty,
covenant, agreement and undertaking made on its behalf by Borrower Representative shall be deemed for all
purposes to have been made by such entity and shall be binding upon and enforceable against such entity to the
same extent as if   the same had been made directly by such entity.

      12.7 THE VALIDITY, INTERPRETATION AND ENFORCEMENT OF THIS FINANCING
AGREEMENT AND THE OTHER LOAN DOCUMENTS SHALL BE GOVERNED BY THE LAWS OF
THE STATE OF NEW YORK, EXCEPT TO THE EXTENT THAT ANY OTHER LOAN DOCUMENT
INCLUDES AN EXPRESS ELECTION TO BE GOVERNED BY THE LAWS OF ANOTHER
JURISDICTION.

            12.8 In the event any direct conflict between the terms and conditions of this Agreement and/or any of
the Loan Documents and the specific terms and conditions of the Financing Order, the terms and conditions of the
Financing Order shall prevaiL. Nothing set forth in this Agreement shall require the Companies to act or fail to act in
a manner that would violate the Bankptcy Code or any order of the Bankptcy Court, without prejudice to the
Agent's ability to declare the occurrence of an Event of Default based upon such action or failure to act. In the
event of any inconsistency between this Agreement and any of the Loan Documents, this Agreement shall control.

SECTION 13 Ae:reement between the Lenders

        13.1 (a) The Agent, for the account of the Lenders, shall disburse all       loans and advances to the
Companies and shall handle all collections of Collateral and repayment of Obligations. It is understood that for
purposes of advances to the Companies and for purposes of this Section 13 the Agent is using the funds of the
Agent.

                    (b) Unless the Agent shall have been notified in writing by any Lender prior to any advance
to the Companies that such Lender wil not make the amount which would constitute its share of the borrowing on
such date available to the Agent, the Agent may assume that such Lender shall make such amount available to the
Agent on a Settlement Date, and the Agent may, in reliance upon such assumption, make available to the Companies
a corresponding amount. A certificate of the Agent submitted to any Lender with respect to any amount owing
under this paragraph shall be conclusive, absent manifest error if no objection, in writing, is delivered to the Agent
within ten (10) Business Days of receipt of the Certificate. If such Lender's share of such borrowing is not in fact
made available to the Agent by such Lender on the Settlement Date, the Agent shall be entitled to recover such
amount with interest thereon at the rate per annum applicable to Revolving Loans hereunder, on demand, from the
Companies without prejudice to any rights which the Agent may have against such Lender hereunder. Nothing
contained in this paragraph shall relieve any Lender which has failed to make available its ratable portion of any
borrowing hereunder from its obligation to do so in accordance with the terms hereof. Nothing contained herein
shall be deemed to obligate the Agent to make available to the Companies the full amount of a requested advance
when the Agent has any notice (written or otherwise) that any of the Lenders wil not advance its ratable portion
thereof.

            13.2 On the Settlement Date, the Agent and the Lenders shall each remit to the other, in immediately
available funds, all amounts necessary so as to ensure that, as of the Settlement Date, the Lenders shall have their
proportionate share of all outstanding Obligations,

            13.3 The Agent shall forward to each Lender, at the end of each month, a copy of the account statement
rendered by the Agent to the Companies,

            13.4 The Agent shall, after receipt of any interest and fees earned under this Financing Agreement,
promptly remit to the Lenders: (a) their pro rata portion of all fees, provided, however, that the Lenders (other than
CIT in its role as the Agent) shall (i) not share in the Collateral Management Fee or Documentation Fees; and (ii)
receive their pro rata portion of the Line of Credit Fee; and (b) interest computed at the rate and as provided for in
Section 8 of this Financing Agreement on all outstanding amounts advanced by the Lenders on each Settlement

                                                          -52-
                                                                                                           B # 761460 v.S
  Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                                           Desc
                   Finance Agreement - Part 2 Page 16 of 46


Date, prior to adjustment, that are subsequent to the last remittance by the Agent to the Lenders of the Companies'
interest.

            13.5 (a) The Companies acknowledge that the Lenders with the prior written consent of the
Agent, which consent shall not be unreasonably withheld, may sell participation in the loans and extensions of credit
made and to be made to the Companies hereunder. The Companies further acknowledge that in doing so, the
Lenders may grant to such participants certain rights which would require the participant's consent to certain
waivers, amendments and other actions with respect to the provisions of                     this Financing Agreement, provided that the
consent of any such participant shall not be required except for matters requiring the consent of all Lenders
hereunder as set forth in Section 14, Paragraph 14.10 hereof.

                   (b) The Companies authorize each Lender to disclose to any participant or purchasing lender
(each, a "Transferee") and any prospective Transferee any and all financial information in such Lender's
possession concerning the Companies and their affiiates which has been delivered to such Lender by or on behalf of
the Companies pursuant to this Financing Agreement or which has been delivered to such Lender by or on behalf of
the Companies in connection with such Lender's credit evaluation of the Companies and their affliates prior to
entering into this Agreement, provided that such Transferee agrees to hold such information in confidence in the
ordinary course of its business.

         13.6 The Companies hereby agree that each Lender is solely responsible for its portion of the Line of
Credit and that neither the Agent nor any Lender shall be responsible for, nor assume any obligations for the failure
of any Lender to make available its portion of the Line of Credit. Further, should any Lender refuse to make
available its portion of the Line of Credit, then the other Lender may, but without obligation to do so, increase,
unilaterally, its portion of the Line of Credit in which event the Companies are so obligated to that other Lender.

            13.7 In the event that the Agent, the Lenders or anyone of them is sued or threatened with suit by the
Companies or anyone of them, or by any receiver, trustee, creditor or any committee of creditors on account of any
preference, voidable transfer or lender liability issue, alleged to have occurred or been received as a result of or
during the transactions contemplated under this Financing Agreement, then in such event any money paid in
satisfaction or compromise of such suit, action, claim or demand and any expenses, costs and attorneys' fees paid or
incurred in connection therewith, whether by the Agent, the Lenders or anyone of them, shall be shared
proportionately by the Lenders. In addition, any costs, expenses, fees or disbursements incurred by outside agencies
or attorneys retained by the Agent to effect collection or enforcement of any rights in the Collateral, including
enforcing, preserving or maintaining rights under this Financing Agreement shall be shared proportionately between
and among the Lenders to the extent not reimbursed by the Companies or from the proceeds of CollateraL. The
provisions of this paragraph shall not apply to any suits, actions, proceedings or claims that (x) predate the date of
this Financing Agreement or (y) are based on transactions, actions or omissions that predate the date of this
Financing, Agreement.

            13.8 Each of the Lenders agrees with each other Lender that any money or assets of the Companies
held or received by such Lender, no matter how or when received, shall be applied to the reduction of the
Obligations (to the extent permitted hereunder) after (x) the occurrence of an Event of Default and (y) the election
by the Required Lenders to accelerate the Obligations, In addition, the Companies authorize, and the Lenders shall
have the right, without notice, upon any amount becoming due and payable hereunder, to set-off and apply against
any and all property held by, or in the possession of such Lender the Obligations due such Lenders,

            13.9 The Agent (upon the prior consent of the Companies, which consent shall not be unreasonably
withheld, conditioned or delayed) shall have the right at any time to assign to one or more commercial banks,
commercial finance lenders or other financial institutions all or a portion of its rights and obligations under this
Financing Agreement, provided the amount assigned to anyone institution shall not be less than Five Million
Dollars ($5,000,000,00) (including, without limitation, its obligations under the Line of Credit, the Revolving Loans,
and its rights and obligations with respect to Letters of Credit including the Letter of Credit Guarantees), provided
further, that the Agent shall first offer to assign a pro rata share of such amounts to each of the Lenders,
Notwithstanding the foregoing, Agent may, without the consent of the Companies, assign all or any portion of its
rights and obligations under this Financing Agreement (A) to any other Lender hereunder or an affliate of any
Lender hereunder or an approved fund, or (B) after an Event of Default has occurred and is continuing hereunder.

                                                                           -53-
                                                                                                                            B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                             Desc
                  Finance Agreement - Part 2 Page 17 of 46


Upon execution of an Assignment and Transfer Agreement, (a) the assignee thereunder shall be a party hereto and"
to the extent that rights and obligations hereunder have been assigned to it pursuant to such assignment, have the
rights and obligations of the Agent as the case may be hereunder and (b) the Agent shall, to the extent that rights and
obligations hereunder have been assigned by it pursuant to such assignment, relinquish its rights and be released
from its obligations under this Financing Agreement. The Companies shall, if necessary, execute any documents
reasonably required to effectuate the assignments. No other Lender may assign its interest in the loans and advances
and extensions of credit hereunder without the prior written consent of the Agent, which consent shall not be
unreasonably withheld, In the event that the Agent consents to any such assignment by any other Lenders (i) the
amount being assigned shall in no event be less than the lesser of (x) Five Milion Dollars ($5,000,000.00) or (y) the
entire interest of such Lender hereunder, (ii) such assignment shall be of a pro-rata portion of all of such assigning
Lender's loans and commitments hereunder and (iii) the parties to such assignment shall execute and deliver to the
Agent an Assignment and Transfer Agreement, and, at the Agent's election, a processing and recording fee of
                                                                                                                    Three
Thousand Five Hundred Dollars ($3,500,00) payable by the assigning Lender to the Agent for its own account.

SECTION 14 Agency
            14.1 Each Lender hereby irrevocably designates and appoints CIT as the Agent for the Lenders under
this Financing Agreement and any ancillary loan documents and irrevocably authorizes CIT as the Agent for such
Lender, to take such action on its behalf under the provisions of this Financing Agreement and all ancillary
documents and to exercise such powers and perform such duties as are expressly delegated to the Agent by the terms
of this Financing Agreement and all ancilary documents together with such other powers as are reasonably
incidental thereto. Notwithstanding any provision to the contrary elsewhere in this Financing Agreement, the Agent
shall not have any duties or responsibilities, except those expressly set forth herein, or any fiduciary relationship
with any Lender and no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read
into this Financing Agreement and the ancilary documents or otherwise exist against the Agent.

       14.2 The Agent may execute any of its duties under this Financing Agreement and all ancillary
documents by or through agents or attorneys-in-fact and shall be entitled to the advice of counsel concerning all
matters pertaining to such duties,

            14.3 Neither the Agent nor any of its offcers, directors, employees, agents, or attorneys-in-fact shall be
(i) liable to any Lender for any action lawflly taken or omitted to be taken by it or such person under or in
connection with this Financing Agreement and all ancilary documents (except for its or such person's own gross
negligence or wilful misconduct), or (ii) responsible in any manner to any of the Lenders for any recitals,
statements, representations or warranties made by the Companies or any officer thereof contained in this Financing
Agreement and all ancillary documents or in any certificate, report, statement or other document referred to or
provided for in; or received by the Agent under or in connection with, this Financing Agreement and all ancilary
documents or for the value, validity, effectiveness, genuineness, enforceability or suffciency of this Financing
Agreement and all ancilary documents or for any failure of the Companies to perform their obligations thereunder.
The Agent shall not be under any obligation to any Lender to ascertain or to inquire as to the observance or
performance of any of the agreements contained in, or conditions of this Financing Agreement and all ancilary
documents or to inspect the properties, books or records of the Companies,

            14.4 The Agent shall be entitled to rely, and shall be fully protected in relying, upon any note, writing,
resolution, notice, consent, certificate, affdavit, letter, cablegram, telegram, telecopy, telex or teletype message,
statement, order or other document or conversation believed by it to be genuine and correct and to have been signed,
sent or made by the proper person or persons and upon advice and statements of legal counsel (including, without
limitation, counsel to the Companies), independent accountants and other experts selected by the Agent. The Agent
shall be fully justified in failing or refusing to take any action under this Financing Agreement and all ancillary
documents unless it shall first receive such advice or concurrence of the Lenders, or the Required Lenders, as the
case may be, as it deems appropriate or it shall first be indemnified to its satisfaction by the Lenders against any and
all liability and expense which may be incurred by it by reason of taking or continuing to take any such action. The
Agent shall in all cases be fully protected in acting, or in refraining from acting, under this Financing Agreement and
all ancillary documents in accordance with a request of the Lenders, or the Required Lenders, as the case may be,
and such request and any action taken or failure to act pursuant thereto shall be binding upon all the Lenders,


                                                                            -54-
                                                                                                              B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                              Desc
                  Finance Agreement - Part 2 Page 18 of 46


         14.5 The Agent shall not be deemed to have knowledge or notice of the occurrence of any Default or
Event of Default hereunder unless the Agent has received written notice from a Lender or the Companies describing
such Default or Event of Default. In the event that the Agent receives such a notice, the Agent shall promptly give
notice thereof to the Lenders. The Agent shall take such action with respect to such Default or Event of Default as
shall be reasonably directed by the Lenders, or Required Lenders, as the case may be; provided that unless and until
the Agent shall have received such direction, the Agent may in the interim (but shall not be obligated to) take such
action, or refrain from taking such action, with respect to such Default or Event of Default as it shall deem advisable
and in the best interests of the Lenders, In the event the Agent in its sole discretion, or at the request of the Required
Lenders, continues to make Revolving Loans and advances under this Financing Agreement upon the occurrence of
a Default or Event of Default, any such Revolving Loans and advances may be in such amounts (subject to
Paragraph 14,10 hereof) and on such additional terms and conditions as the Agent or the Required Lenders may
deem appropriate,

       14.6 Each Lender expressly acknowledges that neither the Agent nor any of its officers, directors,
employees, agents or attorneys-in-fact has made any representations or warranties to it and that no act by the Agent
hereinafter taken, including any review of the affairs of the Companies shall be deemed to constitute any
representation or warranty by the Agent to any Lender. Each Lender represents to the Agent that it has,
independently and without reliance upon the Agent or any other Lender and based on such documents and
information as it has deemed appropriate, made its own appraisal of and investigation into the business, operations,
property, financial and other condition and creditworthiness of the Companies and made its own decision to enter
into this Financing Agreement. Each Lender also represents that it will, independently and without reliance upon
the Agent or any other Lender and based on such documents and information as it shall deem appropriate at the
time, continue to make its own credit analysis, appraisals and decisions in taking or not taking action under the
Financing Agreement and to make such investigation as it deems necessary to inform itself as to the business,
operations, property, financial and other condition or creditworthiness of the Companies, The Agent, however, shall
provide the Lenders with copies of all financial statements, projections and business plans which come into the
possession of the Agent or any of its offcers, employees, agents or attorneys-in-fact.

            14.7 (a) The Lenders agree to indemnfy the Agent in its capacity as such (to the extent not
reimbursed by the Companies and without limiting the obligation of        the Companies to do so), from and against any
and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
(including, without limitation, all Out-of-Pocket Expenses) of any kind whatsoever (including negligence on the part
of the Agent) which may at any time be imposed on, incurred by or asserted against the Agent in any way relating to

or arising out of this Financing Agreement or any ancilary documents or any documents contemplated by or
referred to herein or the transactions contemplated hereby or any action taken or omitted by the Agent under or in
connection with any of the foregoing; provided that no Lender shall be liable for the payment of any portion of such
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
resulting solely from the Agent's gross negligence or willful misconduct. The agreements in this paragraph shall
survive the payment of         the Obligations.

                         (b) The Agent wil use its reasonable business judgment in handling the collection of the
Accounts, enforcement of its rights hereunder and realization upon the Collateral but shall not be liable to the
Lenders for any action taken or omitted to be taken in good faith or on the written advice of counseL. The Lenders
expressly release the Agent from any and all liability and responsibility (express or implied), for any loss,
depreciation of or delay in collecting or failing to realize on any Collateral, the Obligations or any guaranties
therefor and for any mistake, omission or error in judgment in passing upon or accepting any Collateral or in making
(or in failing to make) examinations or audits or for granting indulgences or extensions to the Companies, any
account debtor or any guarantor, other than resulting from the Agent's gross negligence or willful misconduct.

                                                                              business with the Companies
            14.8 The Agent may make loans to, and generally engage in any kind of

as though the Agent were not the Agent hereunder. With respect to its loans made or renewed by it or loan
obligations hereunder as Lender, the Agent shall have the same rights and powers, duties and liabilities under this
Financing Agreement as any Lender and may exercise the same as though it was not the Agent and the terms
"Lender" and "Lenders" shall include the Agent in its individual capacity.




                                                                           -55-
                                                                                                              B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                              Desc
                  Finance Agreement - Part 2 Page 19 of 46


           14.9 The Agent may resign as the Agent upon 30 days' notice to the Lenders and such resignation shall
be effective upon the appointment of a successor Agent. If the Agent shall resign as Agent, then the Lenders shall
appoint a successor Agent for the Lenders whereupon such successor Agent shall succeed to the rights, powers and
duties of the Agent and the term "Agent" shall mean such successor agent effective upon its appointment, and the
former Agent's rights, powers and duties as Agent shall be terminated, without any other or further act or deed on
the part of such former Agent or any of the parties to this Financing Agreement. After any retiring Agent's
resignation hereunder as the Agent the provisions of this Section 14 shall inure to its benefit as to any actions taken
or omitted to be taken by it while it was the Agent.

          14.10 Notwithstanding anything contained in this Financing Agreement to the contrary, the Agent wil
not, without the prior written consent of all Lenders: (a) amend the Financing Agreement to (i) increase the Line of
Credit; (ii) reduce the interest rates; (iii) reduce or waive (x) any fees in which the Lenders share hereunder, or (y)
the repayment of any Obligations due the Lenders; (iv) extend the maturity of the Obligations; or (v) alter or amend
(x) this Paragraph 14,10 or (y) the definitions of Eligible Accounts Receivable, Eligible Inventory, Inventory Loan
Cap, Collateral or Required Lenders, or (vi) increase the advance percentages against Eligible Accounts Receivable
or Eligible Inventory or alter or amend the Agent's criteria for determining compliance with such definitions of
Eligible Accounts Receivable and/or Eligible Inventory if the effect thereof is to increase Availability; (b) except as
otherwise required in this Financing Agreement, release any guaranty or Collateral in excess of Two Hundred Fifty
Thousand Dollars ($250,000.00) during any year, or (c) knowingly make any Revolving Loan or assist in opening
any Letter of Credit or issuing a Letter of Credit Guaranty hereunder if after giving effect thereto the total of
Revolving Loans and Letters of Credit would exceed one hundred and five percent (105%) of the maximum amount
available under this Financing Agreement (the portion in excess of 100% of such maximum available amount shall
be referred to herein as the "Ae:ent Permitted Overadvances"), provided that the Agent shall not be entitled to
continue to knowingly make such Agent Permitted Overadvances, which shall include advances by the Agent to
preserve and protect Collateral for a period in excess of twenty (20) days without the Lenders' consent. Subject to
the provisions of Section 12, Paragraph 12.22 and the provisions of this Paragraph 14,10 of Section 14 of this
Financing Agreement, in all other respects the Agent is authorized by each of      the Lenders to take such actions or fail
to take such actions under this Financing Agreement if the Agent, in its reasonable discretion, deems such to be
advisable and in the best interest of the Lenders. Notwithstanding any provision to the contrary contained in this
Financing Agreement (including the provisions of Section 12, Paragraph 12,2 and Section 14, Paragraph 14,10
hereof) the Agent is authorized to take such actions or fail to take such actions in connection with (a) the exercise of
(i) any and all rights and remedies under ths Financing Agreement (including but not limited to the exercise of
                                                      this Financing Agreement) and (ii) its reasonable discretion
rights and remedies under Section 10, Paragraph 10.2 of

in (x) determining compliance with the eligibility requirements of Eligible Accounts Receivable and/or Eligible
Inventory and establishing reserves against Availability in connection therewith and/or (y) the making of Agent
Permitted Overadvances, and/or (b) the release of Collateral not to exceed Two Hundred Fifty Thousand Dollars
($250,000.00) in the aggregate during any fiscal year, and/or (c) curing any ambiguity, defect or inconsistency in the
terms of this Financing Agreement; provided that the Agent, in its reasonable discretion, deems such to be advisable
and in the best interests of the Lenders, In the event the Agent terminates this Financing Agreement pursuant to the
terms hereof the Agent will cease making any loans or advances upon the effective date of termination except for
any loans or advances which the Agent may deem, in its sole discretion, are reasonably required to maintain, protect
or realize upon the CollateraL.

         14.11 In the event any Lender's consent is required pursuant to the provisions of this Financing
Agreement and such Lender does not respond to any request by the Agent for such consent within ten (10) Business
Days after such request is made to the contact Person (whose name and contact information shall have been
provided to Agent in writing by such Lender) at such Lender, such failure to respond shall be deemed a consent. In
addition, in the event that any Lender declines to give its consent to any such request, it is hereby mutually agreed
that the Agent and/or any other Lender shall have the right (but not the obligation) to purchase such Lender's share
of the Loans for the full amount thereof together with accrued interest thereon to the date of such purchase,

         14.12 Each Lender agrees that notwithstanding, the provisions of Section 11 of this Financing
Agreement any Lender may terminate this Financing Agreement and the Line of Credit only on the Anniversary
Date, Termination of this Financing Agreement by any of the Lenders as herein provided shall not affect the
Lenders' respective rights and obligations under this Financing Agreement incurred prior to the effective date of
termination as set forth in the preceding sentence,

                                                                            -56-
                                                                                                               B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                                  Desc
                  Finance Agreement - Part 2 Page 20 of 46


            14.13 If       the Agent is required at any time to return to the Companies or to a trustee, receiver, liquidator,
custodian or other similar official any portion of the payments made by the Companies to the Agent as result of a
bankptcy or similar proceeding with respect to the Companies, any guarantor or any other person or entity or
otherwise, then each Lender shall, on demand of the Agent, forthwith return to the Agent its ratable share of any
such payments made to such Lender by the Agent, together with its ratable share of interest and/or penalties, if any,
payable by the Lenders; this provision shall survive the termination of        this Financing Agreement.

         14.14 The Lenders agree to maintain the confidentiality of any non-public information provided by the
Companies to them, in the ordinary course of their business, provided that the foregoing confidentiality provision
shall terminate one (1) year after the termination date of this Financing Agreement, and provided further that any
such Lenders may disclose such information (i) to any applicable bank regulatory and auditor personnel, (ii) upon
the advice of their counsel and (iii) to the applicable Offce of the United States Trustee,

                                        (Signatures appear on the following page)




                                                             -57-
                                                                                                                 B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                     Desc
                  Finance Agreement - Part 2 Page 21 of 46


         IN WITNESS WHEREOF, the paries hereto have caused this Financing Agreement to be effective,
executed, accepted and delivered at Philadelphia, Pennsylvania, by their proper and duly authorized offcers as of
the date set forth above,

                                                    SHAPES/ARCH HOLDINGS L.L.C.


                                                    By:
                                                    Name: Steven S, Grabell, CEO


                                                    SHAPES L.L.c.
                                                    A New Jersey limited liability company


                                                    By:
                                                    Name: Steven S, Graben, CEO


                                                    DELAIR L.L.C.
                                                    A New Jersey limited liability company


                                                    By:
                                                    Name: Steven S, Graben, VP


                                                    ACCU-WELD L.L.C.
                                                    A Pennsylvania limited liability company



                                                    By:
                                                    Name: Steven S. Grabell, VP


                                                    ULTRA L.L.C.
                                                    A New Jersey limited liability company


                                                    By:
                                                    Name: Steven S. Graben, VP


                                                    THE CIT GROUP/BUSINESS CREDIT, INC.
                                                    (as Agent and a Lender)


                                                    By:
                                                          Julianne Low, Vice President

                                                    Commitment Percentage: 47,6592405%




                                                       -58-
                                                                                                      B # 761460 v.5
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                       Desc
                 Finance Agreement - Part 2 Page 22 of 46


                                 JPMORGAN CHASE BANK, N.A., successor by merger
                                 to Bank One, NA
                                 (as Co-Agent, Documentation Agent and a Lender)


                                 By:
                                        Michael F. McCullough, Senior Vice President

                                  Commitment Percentage: 39,6825316%

                                  TEXTRON FINANCIAL CORPORATION
                                  (a Lender)


                                  By:
                                        Norbert Schmidt, Senior Account Executive

                                  Commitment Percentage: 12,6582279%




                                     -59-
                                                                                       B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                         Desc
                  Finance Agreement - Part 2 Page 23 of 46


                                                   EXHIBIT A

                                          REVOLVING CREDIT NOTE

$60,000,000.00                                                                                        March _, 2008

            FOR VALUE RECEIVED, the undersigned, SHAPES/ARCH HOLDINGS L.L.c., a New Jersey limited
liability company, SHAPES L.L.c., a New Jersey limited liability company, DELAIR L.L.c., a New Jersey limited
liability company, ACCU-WELD L.L.c., a Pennsylvania limited liability company, and ULTRA L.L.c., a New
Jersey limited liability company (herein the "Companies"), hereby, absolutely and unconditionally promise to pay
to the order of The CIT Group/Business Credit, Inc, as agent for the Lenders (the "Ae:ent"), for the pro-rata benefit
of the Lenders, and any other party which now or hereafter becomes a lender hereunder pursuant to Section 13 of the
Financing Agreement, in lawful money of the United States of America and in immediately available funds, the
principal amount of Sixty Million Dollars ($60,000,000,00), or such other principal amount advanced pursuant to
Section 3 and Section 5 of the Financing Agreement (as herein defined), such Revolving Loan advances shall be
repaid on a daily basis as a result of the application the proceeds of collections of the Accounts and the making of
additional Revolving Loans as described in Section 3, Subject to the terms of the Financing Agreement, the
Revolving Loans may be borrowed, repaid and reborrowed by the Companies, A final balloon payment in an
amount equal to the outstanding aggregate balance of principal and interest remaining unpaid, if any, under this Note
as shown on the books and records of the Agent shall be due and payable on the termination of the Financing
Agreement as set forth in Section 11 thereof.

         The Companies further absolutely and unconditionally promise to pay to the order of the Agent at said
office, interest, in like money, on the unpaid principal amount owing hereunder from time to time from the date
hereof on the dates and at the rates specified in Section 8, of the Financing Agreement.

         If any payment on this Note becomes due and payable on a day other than a Business Day, the maturity'
thereof shall be extended to the next succeeding Business Day, and with respect to payments of principal, interest
thereon shall be payable at the then applicable rate during such extension,

         This Note is the Revolving Credit Note referred to in the Financing Agreement, dated as of March _,
2008, between the undersigned, the Lenders and the Agent, as the same may be amended and/or restated and in
effect from time to time, among the Companies, the Agent, and the Lenders thereto from time to time (as so
amended, the "Financine: Ae:reement"), and is subject to, and entitled to, all of the terms, provisions and benefits
thereof and is subject to optional and mandatory prepayment, in whole or in part, as provided therein. All
capitalized terms used herein shall have the meaning provided therefor in the Financing Agreement, unless
otherwise defined herein.

         The date and amount of the advance(s) made hereunder may be recorded on the grid page or pages which
are attached hereto and hereby made part of this Note or the separate ledgers maintained by the Agent. The
aggregate unpaid principal amount of all advances made pursuant hereto may be set forth in the balance column on
said grid page or such ledgers maintained by the Agent. All such advances, whether or not so recorded, shall be due
as part of this Note.

       The Companies confirm that any amount received by or paid to the Agent in connection with the Financing
Agreement and/or any balances standing to its credit on any of its or their accounts on the Agent's books under the
Financing Agreement may in accordance with the terms of the Financing Agreement be applied in reduction of this
Note, but no balance or amounts shall be deemed to effect payment in whole or in part of this Note unless the Agent
shall have actually charged such account or accounts for the purposes of such reduction or payment of this Note,

         Upon the occurrence of anyone or more of the Events of Default specified in the Financing Agreement or
upon termination of the Financing Agreement, all amounts then remaining unpaid on this Note may become, or be
declared to be, immediately due and payable as provided in the Financing Agreement.




                                                                                                         B # 761460 v.S
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                    Desc
                  Finance Agreement - Part 2 Page 24 of 46


        The undersigned hereby waive diligence, notice of intent to accelerate, notice of acceleration, demand,
presentment and protest and any notices thereof as well as notice of nonpayment other than notices agreed to be
delivered pursuant to the Financing Agreement.

         IN WITNESS WHEREOF, the due execution of this Revolving Credit Note as of the date first written
above,

                                                   SHAPES/ARCH HOLDINGS L.L.C.


                                                   By: EXHIBIT ONLY
                                                       Steven S. Grabell, CEO


                                                   SHAPES L.L.C.
                                                   A New Jersey limited liability company


                                                   By: EXHIBIT ONLY
                                                       Steven S, Grabell, CEO


                                                   DELAIR L.L.C,
                                                   A New Jersey limited liability company


                                                   By: EXHIBIT ONLY
                                                       Steven S, Grabell, VP


                                                   ACCU-WELD L.L.C.
                                                   A New Jersey limited liability company


                                                   By: EXHIBIT ONLY
                                                       Steven S, Grabell, VP

                                                   ULTRA L.L.C.
                                                   A New Jersey limited liability company


                                                   By: EXHIBIT ONLY
                                                       Steven S. Grabell, VP




                                                                                                    B # 761460 v.S
  Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                               Desc
                   Finance Agreement - Part 2 Page 25 of 46



                                                                                                  EXHIDIT B TO
                                                                                         FINANCING AGREEMENT

                                      ASSIGNMENT AN TRASFER AGREEMENT
                                                                                       Dated: :                   ,20_
Reference is made to the Debtor in Possession Reyolying Credit Financing Agreement dated as of March
   , 2008 (as amended, modified, replaced, renewed, extended, restated and/or supplemented and in
effect from time to time, the "Financing Agreement"), among Shapes/Arch Holdings L.L.c., a New
Jersey limited liability company ("SAH"), Shapes L.L.C., a New Jersey limited liabilty company
("Shapes"), Delair L.L.C., a New Jersey limited liabilty company ("Delair"), Ultra L.L.C., a New Jersey
limited liability company ("Ultra"), and Accu-Weld L.L.C., a Pennsylvania limited liability company
("Accu-Weld"; together with SAH, Shapes, Delair and Ultra, the "Companies"), the lenders signatory
thereto, and The CIT Group/Business Credit, Inc., as agent and lender (the "Agent"). Capitalized terms
used herein and not otherwise defined shall haye the meanings assigned to such terms in the Financing
Agreement. This Assignment and Transfer Agreement, between The CIT Group/Business Credit, Inc.
(herein the "Assignor," as further defined and set forth on Schedule 1 hereto and made a part hereof) and
                                                 (herein the "Assignee," as further defined and set forth on Schedule 1
hereto and made a part hereof) is dated as of Effective Date (as set forth on Schedule 1 hereto and made a
part hereof).

1. The Assignor hereby irrevocably sells and assigns to the Assignee without recourse to the
Assignor, and the Assignee hereby irrevocably purchases and assumes from the Assignor without
recourse to the Assignor, as of              the Effective Date, an undiyided interest in and to all the Assignor's rights
and obligations under the Financing Agreement respecting only that percentage Commitment of the
Revolying Line of Credit set forth on Schedule 1 attached hereto (the "Assigned Interest").

2. The Assignor (i) makes no representation or warranty and assumes no responsibilty with respect
to any statements, warranties or representations made in or in connection with the Financing Agreement
or any other Loan Documents, or the execution, legality, yalidity, enforceability, genuiness, sufficiency or
yalue of the Financing Agreement, any Collateral thereunder or any of the Loan Documents, other than
that it is the legal and beneficial owner of the interest being assigned by it hereunder and that such interest
is free and clear of any adverse claim and (ii) makes no representation or warranty and assumes no
responsibilty with respect to the financial condition of the Companies or any guarantor or the
performance or observance by the Companies or any guarantor of any of its respective obligations under
the Financing Agreement or any of                   the other Loan Documents.

3. The Assignee (i) represents and warrants that it is legally authorized to enter into this Assignment
and Transfer Agreement; (ii) confirms that it has receiyed a copy of the Financing Agreement, together
with the copies of the most recent financial statements of the Companies, and such other documents and
information as it has deemed appropriate to make its own credit analysis; (iii) agrees that it wil,
independently and without reliance upon the Agent, the Assignor or any other Lender and based on such
documents and information as it shall deem appropriate at the time, continue to make its own credit
decisions in taking or not taking action under the Financing Agreement; (iv) appoints and authorizes the
Agent to take such action as agent on its behalf and to exercise such powers under the Financing
Agreement as are delegated to the Agent by the terms thereof             together with such powers as are reasonably
incidental thereto; (v) agrees that it wil be bound by the proyisions of           the Financing Agreement and wil
perform in accordance with its terms all the obligations which by the terms of the Financing Agreement
are required to be performed by it as Lender; and (yi) if the Assignee is organized under the laws of a
jurisdiction outside the United States, attaches the forms prescribed by the Internal Reyenue Service of


                                                                                                              B # 762917 v.2
  Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                 Desc
                   Finance Agreement - Part 2 Page 26 of 46



the United States certifying as to the Assignee's exemption from United States withholding taxes with
respect to all payments to be made to the Assignee under the Financing Agreement or such other
documents as are necessary to indicate that all such payments are subject to such tax at a rate reduced by
an applicable tax treaty.

4. Following the execution of this Assignment and Transfer Agreement, such agreement wil be
deliyered to the Agent for acceptance by it and the Companies, effective as of the Effective Date.

5. Upon such acceptance, from and after the Effective Date, the Agent shall make all payments in
respect of the Assigned Interest (including payments of principal, interest, fees and other amounts) to the
Assignee, whether such amounts have accrued prior to the Effectiye Date or accrue subsequent to the
Effectiye Date. The Assignor and Assignee shall make all appropriate adjustments in payments for
periods prior to the Effectiye Date made by the Agent or with respect to the making of this assignment
directly between themselves.

6. From and after the Effectiye Date, (i) the Assignee shall be a part to the Financing Agreement
and, to the extent proyided in this Assignment and Transfer Agreement, haye the rights and obligations of
a Lender thereunder, and (ii) the Assignor shall, to the extent proyided in this Assignment and Transfer
Agreement, relinquish its rights and be released from its obligations under the Financing Agreement.

7. TilS ASSIGNMENT AN TRASFER AGREEMENT SHALL BE GOVERND BY,
AN CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                                 ¡Signatures appear on following pagel




                                                                                                B # 762917 v.2
                                                     2
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                Desc
                  Finance Agreement - Part 2 Page 27 of 46



IN WITNESS WHEREOF, the parties hereto have caused this Assignment and Acceptance to be
executed by their respective duly authorized offcers.

ASSIGNOR:

THE CIT GROUP/BUSINSS CREDIT, INC.,
as Agent and Assignor

By:
Name:
Title:

ASSIGNEE:

                                           , as
Assignee

By:
Print Name:
Print Title:

Acknowledged:

SHAPES/ARCH HOLDINGS L.L.c.



By:
Name:
Title:

SHAPES L.L.c.


By:
Name:
Title:

DELAIR L.L.c.


By:
Name:
Title:

ACCU-WELD L.L.C.


By:
Name:
Title:


                                                                              B # 762917 v.2
                                                    3
 Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24    Desc
                  Finance Agreement - Part 2 Page 28 of 46




ULTRA L.L.C.


By:
Name:
Title:




                                    4                             B # 762917 v,2
  Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                      Desc
                   Finance Agreement - Part 2 Page 29 of 46



               SCHEDULE 1 TO ASSIGNMENT AN TRASFER AGREEMENT

Name of Assignor: The CIT GrouplBusiness Credit, Inc.

Name of Assignee:

Effective Date of Assignment:                     ,20_
Percentage of Revolving Line of Credit comprising Assigned Interest (Shown as a percentage of
aggregate original principal amount, assigned face amount)

                                            Commitment       Commitment
            Facilties                        Amounts         Percenta es           Total
Revolvin Loans:
    CIT                             $
                                    $
                                    $
                                        $60,000,000.00       100.00%          $60,000,000.00


Total Commitments for CIT:                                                   $r               100
Total Commitments for r                 1:                                   $r               lOO
Total Commitments for r                 1                                    $r               lOO
TOTAL                                                                             $60,000,000.00




                                                                                     B # 762917 v.2
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24   Desc
                 Finance Agreement - Part 2 Page 30 of 46




                                             Schedule 1P

                                      PERMITTED INDEBTEDNESS



None.




 PHILADELPHIA \3586504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                           Desc
                 Finance Agreement - Part 2 Page 31 of 46




                                         Schedule lR
                                       REAL ESTATE

Each Company's leasehold or fee interests in the following real property wil be encumbered,
mortgaged, pledged or assigned to the Agent or its designee:

121 i Ford Road, Bensalem, Pennsylvania, 19020
8600/9000 River Road, Delair, New Jersey, 08110
1777 Hylton Road, Pennsauken, New Jersey, 08110




                                                2
 PHILADELPHIA\386504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                             Desc
                 Finance Agreement - Part 2 Page 32 of 46




                                                            Schedule 2.1(s)

                                             COLLATERAL INFORMATION

(a)        (i) The Companies' Trademarks are set fort on Exhibit 2.
                                                                                 1 (r)(a)(i) attached hereto.
           (ii) The Companies' Patents are set fort on Exhibit 2.1            (r)(a)(ii) attached hereto.
           (iii) None.

(b) See Schedule 7.1(C).

(c) See Schedule 7,l(B),

Cd) See Schedule 4.1                (b).




                                                                      3
  PH1LADELPHlA\3586504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                                      Desc
                 Finance Agreement - Part 2 Page 33 of 46




                                                            Schedule 4.1(b)

                                                           SENIOR CLAIMS

Upon entry by the Banptcy Court of                         the Final Order, the Obligations of      the Companies that
are secured by a first priority perfected lien in all of                     the assets (including, without limitation, any
Avoidance Actions and Avoidance Action Recoveries) wil be subject, as to priority, to the
Care-Out, Permitted Encumbrances securing those valid, perfected, non-avoidable secured
claims existing on the Filing Date as set forth on Exhibits 4.1 (b )(i) through (vi) attached hereto,
to the extent such Pennitted Encumbrances securing those valid, perfected, non-avoidable
secured claims existed on the Filing Date.




                                                                        4
 PHILADELPHIA\3586504\3 07777 1.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                Desc
                 Finance Agreement - Part 2 Page 34 of 46




                                                EXHIBIT 2.1(s)(a)(i)
                                                  Trademark List
                                    Status                         Application     Registration
Trademark                           Class(es)                      Number/Date     NumberlDate

HIGH PERFORMANCE GLASS   REGISTERED                                75/118,355      2,148,244
WITH A MEMORY ACCU-GLAZE 19 lnt,                                   13-Jun-1996     31-Mar-1998
& Design
United States of America

ACCU-GLAZE Z-GLASS                  REGISTERED                     75/107,583      2,22 I ,92 I
United States of America            191nt.                         2 I -May-1996   02- F eb-1999


ACCURA                              REGISTERED                     75/312,195      2,286,971
United States of America            19 lnt,                        20-Jun-1997     19-0ct-1999

ACCU- WELD                          REGISTERED                     731703,306      1,530,873
United States of America            19 Int.                        28-Dee-1987     21-Mar-1989

DELGARD                             REGISTERED                     78/339,246      2,913,225
United States of America            061nt.                         11-Dee-2003     21-Dec-2004

ETERNITY FINISH                     REGISTERED                     76/144,018      2,759,463
 United States of Amerca            06 lnt.                        10-0ct-2000     2-Sep-2003


JOHNNY WEISSMULLER                  Registered                     78/339,252      2,962,285
United States of America            06 Int.                        II-Dee-2003     14-Jun-200S


PATRIOT POOLS                       Registered                     76/603,080      3,061,680
United States of America            061nt.                         20-Jul-2004     28-Feb-2006


ROCKLAND                            Registered                     76/569,952      3,015,986
United States of America            06Int.                         09-Jan-2004     15-Noy-200S


SHIELD SECURITY & Design            REGISTERED                     76/539,567      2,949,257
 United States of America           06 lnt.                        22-Aug-2003     10-May-2005


TOTAL COMFORT                       REGISTERED                     74/262,393      1,842,200
United States of America            06 Int., 19 Int.               03-Apr-1992     28-Jun-1994


W. WESTMORE CLASSIC                 REGISTERED                     76/497,107      2,900,433
HARDWARE FOR FINE HOMES             06Int.                         13-Mar-2003     02-Noy-2004
AND DESIGN
United States of America

WESTMORE                            REGISTERED                     76/497,108       2,913,666
United States of-America            06 Int.                        13-Mar-2003      21-Dec-2004




                                                          8
PHILADELPHIA\3586504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                      Desc
                 Finance Agreement - Part 2 Page 35 of 46




                                            EXHIBIT 2.1(s)(a)(ii)

                                                     Patents
                                             Application         Publication            Patent             Status
Country Name                                 Number/Date         NumberlDate            NumberlDate        Expiration Da

                                             07/899,836 5,216,810                                          Granted
United States of America                     17-Jun-1992 08-Jun-1993                                       11-Jan-20 11

                                          Title: ALUMINUM EXTRUSION WITH MULTIPLE THERMAL BRAE
                                                  AND METHOD OF MAKING SAME



                                             08/671,538                                 5,660,378          Granted
United States of America                     27-Jun-1996                                26-Aug-1997        27-Jun-2016
                                          Türe: FENCE ASSEMBLY




                                             10/609,412          2004-0026932           6,871,886          Granted
United States of America                     1-Jul-2003          12-Feb-2004            29-Mar-2005        01-Jul-2023
                                          Title: SASH LOCK



                                              29/066,188                                 0402,043          Granted
United States of America                      06-Feb-1997                                Ol-Dec- 1 998     o i -Dec-20 12
                                          Title: POOL SUPPORT MEMBER




680144.0004/                    PRl          09/535,124                                 6,375,166          Granted
United States of America                     24-Mar-2000                                23-Apr-2002        24-Mar-2020
                                    AG Matter: 680144.0004
                                          Title: FENCE WHICH ELIMIATES THE NEED FOR CONVENTIONAL
                                                  FASTENERS



680144,0006/                        PRI 08/384,017 5,649,780                                               GRANTED
United States of America                     06-Feb-1995 22-Jul- 1 997                                     06-Feb-20 15

                                    AG Matter: 680144.0006
                                          Title: COLLET FOR TELESCOPING ASSEMBLY



680144,0007/                        PRl 08/617,420 5,715,574                                               GRANTED
United States of America                     18-Mar-1996 I O-Feb- 1998                                     18-Mar-2016
                                    AG Matter: 680144.0007
                                          Title: ADJUSTABLE SELF-CLOSING HINGE ASSEMBLY


210603.00101                        PRO 60/944,925                                                         Pending
United States of America                     19-Jun-2007                                                   19-Jun-2008
                                          Atty. 10603- 10US                     AG Matter: 210603.0010



                                                           9
PHILADELPHIA\3586504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                              Desc
                 Finance Agreement - Part 2 Page 36 of 46




                                         Title: CASEMENT OPERATOR WITH BALL BEARNG



210603.0012/1                        ORD 11/74,623 US-2008-0005970-Al                                              Published
United States of America                     09-Jul-2007 10-Joo-2008
                                         Atty. 10603-12U1 AGMatter: 210603,0014
                                         Title: CASEMENT        OPERATOR WITH MOVABLE         COVER



210603.0013/                         PRO 60/943,082                                                                Pending
United States of America                     I1-Jun-2007                                                           i l-Jun-2008
                                         Atty. 10603-13US                               AG Matter: 210603,0013
                                         Tile: FRICTION CASEMENT HINGE



210603,0015/                         PRI 11/964,771                                                                Pending
United States of Amerca                      27-Dec-2007
                                         Atty. 10603-15US AGMatter: 210603.0015
                                         Title: WINDOW LOCK AND METHOD OF USE




                                                           10
 PHILADELPHIA\3586504\3 07ï771.000
   Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                              Desc
                    Finance Agreement - Part 2 Page 37 of 46




Exhibit 4.1      (b)(i) - Creditors Holding Secured Claims Worker's
                            Compensation Claims


               Zurich         5/1/98-5/1101



                              5/1/01.5/1/02          No 0 en Claims
                              5/1/02-5/1/03              Slater                  20,000     Ultra
                                                         Class                    7,113    Shapes
                                                        Owens                     9,260    Sha es
 RoyallArrowpoint Captial 5/1/03-5/1/04                Vannockay                 22,925    Shapes

                                             Ro al Arrowpoint Capital Totals     59,298
                                          CIT Group Business Credit, Inc, U     475,000
                                                        Loss Res                 40,000

              Ar onaut        5/1/04-5/1/05 Hidalgo                              26.480     Ultra
                                                         Wekerle                 92,506    Sha es
              Argonaut         5/1/05-5/1/06 Hernandez                           21,616    Shapes
                                                          Nunez                 108,910     Ultra
                                                          Owens                  37,743    Shapes
                                                          Perez                 122,348    Shapes
                                                          Tran                    8,179    Shapes
                                                       Washin ton                  1,149   Shapes
                                                     Ar onaut Totals             418,931
                                          CIT Group Business Credit, Inc. U    1,380,000
                                                         Loss Res                170,000

               Sentry          5/1/06.5/1/07      24 Open (Sentry Totals)       414,406
                                                         Shapes                 334,882
                                                          Delair                  9,000
                                                           Ultra
                                                           AW                    70,524

               Sentry          5/1/07-5/1/08      27 Open (Sentry Totals)        46.491
                                                          Shapes                 37,905
                                                           Delair                 1,829
                                                           Ultra                    825
                                                           AW                     5,932

                                          CIT Group Business Credit, Inc, L/   1,525,000
                                                         Loss Res                 71,000

                                                        All Totals               939,126
                                                         AIIUC's               3,380,000
                                                       All Loss Res              281,000

                                                          Shapes                 695,626
                                                           Delair                 10,829
                                                           Ultra                 156,215
                                                            AW                    76,456
                                                                                 939,126

                                               Shapes Balance Sheet Reserv
                                              Accu-Weld Balance Sheet Rese
                                                           Total
                                                     Potential Shortall
Exhibit 4.1 (b)(ii) - Creditors Holding Secured Claims




                                                 20 Regina Road
                                           Woodbridge. Ontario CA L4L8L6 Vinyl Extrusions                                                                                                                                                     $0.00 Accu-Weld L.L.C.
                                                                                                                                                                                                                                                                                                                                                                                          Finance Agreement - Part 2 Page 38 of 46
                                                                                                                                                                                                                                                                                                                                                                         Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24
                                                                                                                                                                                                                                                                                                                                                                                                           Desc




  -.~' ,'.;¡, '- ...:::;.",:. ¡ :.¡ ',~:: ¡, ~ ù;; _ ....0' ~,: ¡ ..,~, i":,' .,,1 :: ..;~.:.. ;"~ .~\;.', ~ \;.1:';.:: : (.' '," ¡ :';;.'..:; ;¡~:l;:: ~~~' ,',~',;;o ,: '.;0,'" 11" W~; ¡
                                                                                                                                                                ',j:'., "¡¡;~~;::':;:';";';;:;:':f";.~:,r;i;1¡i'1ur'f'¡:;~,n:;-::;-,;(.;;1;':: :;~-,:;;,';,:,-:.;';;;:;~';;::-"":::;';;~;'.,~ -;.";'\"'__:-:::;;'! ,O;;;-~-, i;',~,~'::-:i;,'.t; ¡:.~;.;,~.."i(;;:";1"',"~il;;;.~'r"";":¡!';c'~~i:
             Exhibit 4.1 (b)(iii) - Creditors Holding Secured Claims
                                     Shapes, LLC




                             2542 State Road, Bensalem, PA
Custom Manufacturing                     19020 I Fabricated Extrusions I $
                             1458 County Line Rd, HuntingtonlAluminum Extrusions
KVI                                 Valley, PA 19006 (to be fabricated) I $

                                    8869 Citation Rd. Picket Fabricating
Eagle Engineering Corp,           Baltimore, MD 21221 Machine I $86,700.00
                             P.O, Box 98 Gibbsboro, Electric Motors: repairs
Wíllier Electric Motor Co.             NJ 08026 & new $ 26,500.00
                             3rd & Green St. Royersford, Hydraulic Pump &
Advanced Fluid Systems                 PA 19468 repairs I $ 7,922,00
                             9 Humphreys Drive, Warminster,
Anchor Sales Associates                 PA 18974              Pumps & repairs      $ 20,784.00
                                  234 South Potter St.        Extrusion press
SMS Meer Service Inc.             Bellefonte, PA 16823        components           $ 12,100.00
                                                              TOTAL                 $154,006.00
                                                                                                                   Finance Agreement - Part 2 Page 39 of 46
                                                                                                  Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24
                                                                                                                                    Desc
       Exhibit 4.1
                         (b)(iv) - Creditors Holding Secured Claims - Taxes Due
                                           Shapes, LLC


                                                Building                                  Taxing Authority Name                                                                                           Total Amount
Property Address                                 Owner                                    and Address (payee)                                                                                    Due Date Due


9000 River Road                                                                            Pennsauken Township                                                                                       8/1/07                                  $ 148,328.06
Pennsauken, NJ 08110                               Shapes                                  5605 N. Crescent Blv.                                                                                     11/1/07                                           148,328.06
                                                                                           Pennsauken NJ 08110                                                                                       2/1/08                                            140,588.67

8600 River Road                                    Shapes                                  Pennsauken Townshio                                                                                        8/1/07                                               80,142.71
Pennsauken, NJ 08110                                                                       5605 N. Crescent Blv.                                                                                      11/1/07                                              80,142.71
                                                                                           Pennsauken NJ 08110                                                                                        2/1/08                                               75,961.06

1777 Hvlton Road                                   Shapes                                  Pennsauken Township                                                                                        8/1/07                                            25,255.07
Pennsauken, NJ 08110                                                                       5605 N. Crescent Blv,                                                                                      11/1/07                                           25,255.06
                                                                                            Pennsauken NJ 08110                                                                                       2/1/08                                            23,937.32
TOTALS                                                                                                                                                                                                                                                 747,938.72
                                                                                                                                                                                                                                                                                                                                                                                               Finance Agreement - Part 2 Page 40 of 46
                                                                                                                                                                                                                                                                                                                                                                              Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24
                                                                                                                                                                                                                                                                                                                                                                                                                Desc




                     I'" ¡., ;.' 0.. ,; ,: 'i ¡, ",,;;: ;. ;..;,~ ;-; -;-.. ',~;. '"..t; \','..':.;l ".;. ;';¡;, l.-; ;,.,. ~'-,;-:"';':¡ :.~I; ;~';'.;i 1 :'" t i' ~'~', .i~';', ;".:..; ,.,,.: '; ,,-c. '.' ,:.;, i; ': ,; 1 :'~'.~,;:; ;;,'. '.'''';':¡ :; '.; ";\,,,~,-,,,:,'Õ i;:,..1 :... -..:;:,:" :.:~.: ~l.; i: ,;,'. ;;.:;:';: i1 ¡;i¡1: \ ",; ,(~. :,,-J :. ::,;,,:.;:J.: ,:."; ¡ ;,.c;. -
                                                                                                                                                                                                                                                       ; ;.''1 ~;. : .:.,.;.:;..,,,-.:~.j ;'..¡~;:;;,~;~.~j;::'v.~;;:!.t_'';\''Ü\':.I;l;,~,.;-.:;::¡.(,.:;:;;,ì¡;::~;..;¡i.~$,,:,,~.,';,l:' .i;~;;¡¡':;;
                       Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                                                                                            Desc
                                        Finance Agreement - Part 2 Page 41 of 46                                                                                                                             ,
                                                                                                                                                                                                             ~
                                                                                                                                                                                                             :'f
                                                                                                                                                                                                             m
                                                                                                                                                                                                             ';l
                                                                                                                                                                                                             ~
                                                                                                                                                                                                             ~~i
                                                                                                                                                                                                             ~~



                                                            Exhibit 4.1                (b)(v) - Creditors Holding Secured Claims                                                                             ¡I

                                                                                      Delair, LLC                                                                                                            ;'.
                                                                                                                                                                                                             :1

                                                                                                                                                                                                             ¡¡


                                                                                                                                                                                                             ~
                                                                                                                                                                                                             ;:-
¡~~f;i~ ~:r~*_~;~4;::351r:::~'~t'~t~~"\~~;i¡rf~my~":~r~k:?ê;;;~-;,f;:::Ü¡g~_:-:~~'~;:Pf~D;'~?J¡;-jt~;:::I¡:"-.:~: g~i,~~!%~l~';"'~.("~~"":;lr '; :-_::-~:-~T'?!i ~~i¡~
, '''~";Í'"~;,,,~,, "'.~._"'-'),,-' 'J' '."-"""f', "vi -¡! ;lï.,,,,,,s,,il,c~,,\.~?'''å",);t(;i,¡,-, - ";. '.-11 i ';-''S'''i~;-",), 'lW ..-.." -",~ '"i.,~;:",.',,) ~"-"j'J; "-. ". A v,.",; ii~1í
!ti~ß.':~r~î4:~t~~':.;;~~¥-:s~~.~:;~r,3~~:~~1f+%t~~fl~t~:- '~,':~:~:,fA~RliJi _;: ~yt;~~ra~1~~Rf~~::t lt~~1t~':'¥~I%1
ï~¡fí~1'1\~;,Rr~¡ .._.\,¡_,~'~¡i,~'(~(;rlß-¡~\)::\'#:R~.iiU-~~
~~_. F._".._.. ~i..i",                                           ~J':;.
                         ._ ,..,.... . ... .."...0_ '".."""":.~:J,¡     -':!':L~\¡t'50i;'
                                                                    _..\L_=-=o:       ..~-:Ørn¡:f:fl:!'f.'ìîtll~~\¡ilt-~~S
                                                                                           ,;,;.. ...6o ___L~~~ _ "'.."'"' ~ž,~~-r'~ff7!~:lWtr;
                                                                                                                                i. on.: -_ ,", l:Y..                                                         11
                                               1830 Momentum Place Chicago,IL                       Pool & Fence Finished
Celadon                                                               60689-5318 317972 7000                                                     Goods                                $1,014,60
                                                                                                                                                                                                             ~.t


                                                             107 Green St Hulmevile, PA 19047-                                     Pool & Fence Finished
CCT Transport                                                               5543 8006428138                                                      Goods                              $12,208,12

                                                                       4103 Collection Center Dr                                   Pool & Fence Finished
Fedex                                                                         Chicago,IL 60693                                            Goods                                       $1,038.71
                                                                              735 Broad Street                                     Pool & Fence Finished
Gray Truckinçi                                                      Beverly, NJ 08010                  Goods                                                                              $622,50
                                                           PO Box 13031              Newark,NJ Pool & Fence Finished
Jevic Transport                                                          07188                         Goods                                                                           $2,631.03             '"



                                                           PO Box 803                         Perkasie,PA Pool & Fence Finished
                                                                                                                                                                                                             r
Rockwell Transoort                                                                 18944-0803                     Goods                                                                $6,710,38
                                                                             PO Box 7247-0244                                       Pool & Fence Finished
UPS                                                            Philadelphia,PA 19170-0001              Goods                                                                           $1,872,96
                                                           PO Box 81150           Cleveland,OH Pool & Fence Finished
DDI                                                                       44181                        Goods                                                                        $25,000,00
                                                          120 Enterprise Ave                              Morrisville,PA                metal coil for pool
MSC                                                                             19067                                                              parts                               $4,000.00
                                                                          1430 Martin Grove Rd                                          metal coil for pool
Metal Kotinçi                                                     Rexdale,Ontario CA M9W 4Y1                                                       parts                             $74,000.00
                                                                        1384 Byberry Rd                                              pool & fence parts to
Gm                                                                          Bensalem,PA 19020                                                 be painted                             $24,000.00
                                                          2115 Byberry Rd                                    Huntingdon                 metal coil for pool                                                  r
Malber                                                                         Valley,PA 19006                                                     parts                             $43,000.00
                                                          6754 Santa Barbara Court                                Elkridge,             metal coil for pool
CFM(Precoat)                                                         MD 21075-5886                                                                 parts                             $20,000.00
    VENDORS WITH TOOLING
                                                          2115 Byberry Rd             Huntingdon
 Malber                                                               Valley,PA 19006              tooling/molds for parts
                                                          120 Enterprise Ave        Morrisville,PA
 MSC                                                                       19067                   tooling/molds for parts
                                                                   1430 Martin Grove Rd
 Metal Koting                                                 Rexdale,Ontario CA M9W 4Y1       tooling/molds for parts
                                                          6754 Santa Barbara Court   Elkridge,
 CFM(Precoat)                                                        MD 21075-5886             tooling/molds for parts

                                                           10 McFadden Rd Palmer Industrial Park
 Bardot Plastics Inc                                                      Easton,PA 18045-7817                                      tooling/molds for parts                          $50,000.00
                                                                          1129 West River Drive
T oco Products                                                           Mays Landing NJ 08330        tooling/molds for parts                                                        $75,000.00
                                                          2700 Turnpike Drive              Hatboro,PA
 Acme Corruçiated                                                               19040                  tooling for corrugated                                                      $112,000,00
                                                           800 East Walnut Street                                      North
 Fitzpatrick Container                                                         Wales,PA 19454                                        tooling for corrugated                         $29,000.00
                                                                                                                                            TOTALS                                 $482,098.30
                                        Exhibit 4.1 (b)(vi) - Creditors Holding Secured Claims Vendors Holding Inventory
                                                               Ultra, LLC




  A DUIE PYLE INC                                                         I           WEST CHESTER PA 19381                                                                                                                                                                            12,000
                                                                                                                                                                                                  i Builders' Hardwarel
   BAY CITIES                                                                                     31474 HAYMAN ST
WAREHOUSE CO INC                                                                                 HAYWARD CA 94544                                                                                   Builders' Hardware                                                                   1,813
     CON-WAY                                                                           PO BOX 642080
TRANSPORTATION INC                                                                PITTSBURGH PA 15264-2080 I Builders' Hardwarel                                                                                                                                                            572
 DALLAS TRANSFER &
     TERMINAL                                                                             PO BOX 224301
    WAREHOUSE                                                                          DALLAS TX 75222-4301                                                                                       I Builders' Hardwarel                                                                     282
                                                                                          PO BOX 25612
ESTES EXPRESS LINES!                                                                 RICHMOND, VA 23260-5612                                                                                       I Builders' Hardwarel                                                                 2,550

 FEDERAL EXPRESS                                                                             PO BOX 1140
   CORPORATION                                                                           MEMPHIS, TN 38101-1140                                                                                    I Builders' Hardwarel                                                                      85
 FEDERAL EXPRESS                                                                            PO BOX 371461
                      ERS                                                         PITTSBURGH, PA 15250-7461 I                                                                                        Builders' Hardwarel                                                                    167
  GILCO TRUCKING           PO BOX 27474
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Finance Agreement - Part 2 Page 42 of 46




   COMPANY INC       SAL T LAKE CITY UT 84127 I Builders' Hardwarel                                                                                                                                                                                                                    14,718
                      1-71 NORTH AVE, EAST
NEW ENGLAND MOTOR          PO BOX 6031
    FREIGHT INC      ELIZABETH, NJ 07207-6031 I Builders' Hardwarel                                                                                                                                                                                                                       1,000
NORTHSTAR SERVICES PO BOX 23148 PHILADELPHIA,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24




        LTD                  PA19124          I Builders' Hardwarel                                                                                                                                                                                                                         455
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Desc




    ,"".. :....~ c., ,....:...-..';, ".,,:...-_,,~:;... ...' ",_......_,~.,..', . v'.','. "..'.... m"'.""'.""""',-, '," '" ." ".: -.';,.;,; ':"';"';' ;1.';,' :- ,-;.; ,;:.,.,¡ ;,,,," .;.: ',.-,,: 'i':;"'I"~'''-¡'';:';'~';''''W'~'l :;,1.;, """;,.'..:;:;,;",;"",,O:",~,;~,'",,:,,\,''''.i,,';:;;'~'',; ;i.I'....:, ',:.r.,'; il:...,,.;;.,,;;!;..,:_;:;;,,~';',:;;:J,''';'J;    f;;¡,,:~¡¡::¡l¡¡;pi:,..',;,:,i:~;,;,;;: ,;,.:.:-~ ,;':'~,i ;:;~~;';;;:,¡,';'-';..,', ':'::;"'.;,; ,,'- .
                                                                                                                                                                                                                                                                                                                                       ~!:;;-.;.;:;.;;.i;i:':';','i.i'::'''')-ig.:.~',\:i:¡:¡¡\;',;,:,,:..:;"~;¡¡f,;;;":.,L::~',~':,'":i:,l;;:~""~"'~'::;':';:';.o';i:r~':(~':';:\"è;,;:
             Exhibit 4.1(b)(vi) - Creditors Holding Secured Claims Vendors Holding Inventory
                                    Ultra, LLC




   OLD DOMINION                                       1300 SUCKLE HWY
   FREIGHT LINE                                     PENNSAUKEN, NJ 08110     I Builders' Hardwarel                                                                                                                                                       22,600
PITT OHIO EXPRESS                                       PO BOX 643271
       LLC                                        PITTSBURGH, PA 15264-3271 I Builders' Hardwarel                                                                                                                                                              167
 STANDARD WHSE &                                         PO BOX 308
    DIST CO INC                                     PENNSAUKEN, NJ 08110     I Builders' Hardwarel                                                                                                                                                         4,171

  UNITED PARCEL                                        PO BOX 7247-0244
      SERVICE                                    PHILADELPHIA, PA 191700001 IBuilders' Hardwarel                                                                                                                                                         78,600
 UPS SUPPLY CHAIN                                   28013 NETWORK PLACE
   SOLUTIONS INC                                    CHICAGO, IL 60673-1280   I Builders' Hardwarel                                                                                                                                                         4,102
  WILLIAM PARKER                                  2845 E WESTMORELAND ST
  ASSOCIATES INC                                   PHILADELPHIA, PA 19134    I Builders' Hardwarel                                                                                                                                                          2,942

     YELLOW                                                                    PO BOX 13850
TRANSPORTATION INC                                         NEW ARK, NJ 07188-0850                                                                                    I Builders' Hardwarel                                                               20,700
                                                                                                                                                                                         TOTALS                                          I                  166,926
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Finance Agreement - Part 2 Page 43 of 46
                                                                                                                                                                                                                                                                                                                                                                                                                                      Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Desc




                                                                                                                                                                                                                                                                                                            ~;;.-;
              -_ ,- i ,',:." 0 c" . ,,' 'j.': _0;, .:.. ..._,_,...._, _ -,;.'.. ,.'. -, "i ;',;-.; ;.,,': ';,':" "', ,( ,,-,;:.., i, "'-...\I~. -'-'- ,;: ,:-~: ,',,:: : ¡ ,.,~",-;.;,,,'. \..: ¡:;I .':;~~ê ,:.:¡ :"~',;. i;, ;,¡õ ,,,. ~.1 '1 ::":. :.".(,',:: :;0 ~:. i.' :,.; .;:,: !-' l:,':, '..': ~.:~: ~~..i!;_~~';~"       ;¡:,':',';';lJ;"':(;~";:(-:"";"'l:~_;¡':'.',;;I:i;;-,rl
                                                                                                                                                                                                                                                                                                                   ;';.; ,;,,:~,,;,,:':'ï~,;",;                                              ;;¿~~.?:~;.i:'~";;'A.rl~',':~l~:-;G~,'41;i.\Jt.:-::;;i,,:"
                                                                                                                                                                                                                                                                                                                                                  .:n , ,'~.~.:.:, ':,:"1' ¡ ..:~ ¡ "..,';,;~,-,;, i.,.:.:.!, Ii;:' i:,:~¡¡ L ;.~(t l;1 ~~~';',,:'" ¡;; J '¡ ~i:
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                               Desc
                 Finance Agreement - Part 2 Page 44 of 46                                                .,:
                                                                                                         t,

                                                                                                         ~,~
                                                                                                         ~
                                                                                                         t~

                                                                                                         ~
                                                                                                         ~~
                                                                                                         f:i
                                                                                                         J
                                                                                                         ;'1

                                             Schedule 7.1                                                ~
                                                                                                         :"i
                                                                                                         r~.


                                           ORGANIZATION                                                  ~
                                                                                                         n
                                                                                                         ~~
                                                                                                         ~:,1
(A) The Companies' chief executive office is located at 9000 River Road, Delair, New Jersey,
           08110.
                                                                                                         ~
                                                                                                         .'-'
                                                                                                         :.:

(B) Collateral of       the Companies is located at the addresses set forth below:                       ~:~



           1211 Ford Road, Bensalem, Pennsylvania, 19020
           8600/9000 River Road, Delair, New Jersey, 08110
           1777 Hylton Road, Pennsauken, New Jersey, 08110

Certain Collateral of   Shapes L.L.C. is located at the addresses set forth below:

           Custom Manufacturing                         2542 State Road, Bensalem, P A 19020
                                                                                                         "
           KVI                                          1458 County Line Rd, Huntington Valley,
                                                        PA 19006                                         r
           Eagle Engineering Corp.                      8869 Citation Rd, Baltimore, MD 21221
           Willer Electric Motor Co.                    P.O. Box 98, Gibbsboro, NJ 08026
           Advanced Fluid Systems                       3rd & Green S1., Royersford, PA 19468
           Anchor Sales Associates                      9 Humphreys Drive, Warminster, PA 18974
           SMS Meer Service Inc.                        234 South Potter S1., Bellefonte, P A 16823

Certain Collateral of   Ultra L.L.c. is located at the addresses set forth below:


           A Duie Pyle Inc.,                            PO Box 564, West Chester, PA 19381 0564
           Bay Cities Warehouse Co. lnc.
           Con-Way Transportation lnc.
                                                        31474 Hayman St., Hayward, CA 94544
                                                        PO Box 642080, Pittsburgh, P A i 52642080
                                                                                                         f
           Dallas Transfer & Terminal Warehouse         PO Box 224301, Dallas, TX 752224301
           Estes Express Lines                          PO Box 25612, Richmond, VA 232605612
           Federal Express Corporation                  PO Box 1140, Memphis, TN 38101-1140
           Federal Express Ers                          PO Box 371461, Pittsburgh, PA 15250-7461
           Gílco Trucking Company Inc.                  PO Box 27474, Salt Lake City, UT 84127
           New England Motor Freight Inc,               1-71 North Ave, East PO Box 6031,
                                                        Elizabeth, NJ 072076031
           Northstar Services Ltd.                      PO Box 23148, Philadelphia, PA 19124
           Old Dominion Freight Line                    1300 Suckle Hwy, Pennsauken, NJ 08110
           Pitt Ohio Express LLC                        PO Box 643271, Pittsburgh, PA 15264
           Standard Whse. & Dist Co Inc,                PO Box 308, Pennsauken, NJ 08110
           United Parcel Service                        PO Box 7247-0244, Philadelphia, P A
                                                        19170-0001
           UPS Supply Chain Solutions lnc,              28013 Network Place, Chicago, IL 60673
           Wiliam Parker Associates Inc.                2845 E. Westmoreland S1., Philadelphia, P A
                                                        19134
           Yellow Transportation Inc.                   PO Box 13850, Newark, NJ 07188 0850


                                                    5
PHILADELPHIA\3586504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24                                              Desc
                 Finance Agreement - Part 2 Page 45 of 46




Certain Collateral of Accu-Weld L.L.C. is located at the addresses set forth below:

           Grafco                                                   20 Regina Road, Woodbridge, Ontario, CA L4L8L6

Certain Collateral of           Delair L.L.C. is located at the addresses set forth below:

           Celadon                                                   1830 Momentu Place, Chicago, IL 60689-5318
           CCT Transport                                             107 Green St., Hulmeville, PA 19047-5543
           FEDEX                                                     4103 Collection Center Dr., Chicago, IL 60693
           Gray Trucking                                             735 Broad Street, Beverly, NJ 08010
           Jevic Transport                                           PO Box 13031, Newark, NJ 07188
           Rockwell Transpoit                                        PO Box 803, Perkasie, P A 18944-0803
           UPS                                                       PO Box 7247-0244, Philadelphia, PA 19170-0001
           DDI                                                       PO Box 81150, Cleveland, OH 44181
           MSC                                                       120 Enterprise Ave, Morrsvile, P A 19067
           Metal Koting                                              1430 Marin Grove Rd., Rexdale, Ontaro CA
                                                                     M9W 4Y1
           Gil                                                       1384 Byberr Rd" Bensalem, PA 19020
           Malber                                                    2115 Byberry Rd" Huntingdon Valley, PA 19006
           CFM(Precoat)                                              6754 Santa Barbara Couit, Elkrdge, MD 21075
           Bardot Plastics Inc.                                      10 McFadden Road, Palmer Industrial Park,
                                                                     Easton, P A 18045-7817
           Toco Products                                             1129 West River Drive, Mays Landing, NJ 08330
           Acme Corrgated                                            2700 Turnpike Drive, Hatboro, P A 19040
           Fitzpatrck Container                                      800 East Walnut Street, North Wales, PA 19454

(C) The Companies use the following trade names:

                         Shapes/Arch Holdings, L.L.C.
                        Aluminum Shapes, Inc.
                         Shapes, L.L.C. tla Aluminum Shapes, L.L.c.
                         Shapes/Arch Holdings, L.L.C. tla Arch America
                        Arch Aluminum, L.L.C. (sold in 1998)
                        -Arch Aluminum & Glass Co" Inc. (sold in 1998)
                        Aluminum Shapes, Inc. t/a Aluminum Smelters of                  New Jersey (Inactive)
                        Aluminum Finishers Corp. (Inactive)
                        Ultra, L.L.C, tla Ultra Hardware Products, L.L.C.
                        Ultra Hardware Products, Inc.
                        Accu-Weld,Inc,
                        Accu-Weld, L.L.C
                        Accu-Weld, L.L.C. t/a Secura- Seal Corp.
                        Delair, L.L.C. t/a Delair Group, L.L.C.
                        Delair Group, Inc.
                        Delgard Premier Fencing Co.
                        Esther Wiliams Swimming Pools of Canada, Ltd,


                                                                         6
 PHILADELPHIA\3586504\3 077771.000
Case 08-14631-GMB Doc 39-2 Filed 03/18/08 Entered 03/18/08 19:44:24         Desc
                 Finance Agreement - Part 2 Page 46 of 46




                 Delair Group, Inc. tJa Esther Willams Swiming Pools
                 Delair Group, Inc. tJa/ Johny Weismuller Pools
                 Delair Group, Inc. tJa The Patriot Swimming Pool Company
                 Delair Group, Inc. tJa/ Argus Vinyl Pool Liners
                 Delair Group, Inc. tJa Life Style Spas
                 Delair Group, Inc. tJa Le Spa International
                 Delair Group, Inc. t/a Family Ties




                                                 7
PHILADELPHIA \3586504\3 077771.000
